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       MICHAEL KORS (USA), INC.
   7
   8
                             UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
 11
       VICTORIA E. LUCAS, on behalf of            Case No. 2:18-cv-1608
 12    herself all others similarly situated,
                                                   CLASS ACTION
 13                    Plaintiffs,
                                                   NOTICE OF REMOVAL OF
 14             v.                                 CIVIL ACTION TO THE
                                                   UNITED STATES DISTRICT
 15    MICHAEL KORS (USA), INC., a                 COURT BY DEFENDANT
       Delaware corporation; DECTON INC.,          MICHAEL KORS (USA), INC.
 16    a California corporation; DECTON
       STAFFING SERVICES, a business               [Concurrently filed with Civil Case
 17    entity form unknown and DOES 1              Cover Sheet; Declarations of
       through 100, Inclusive,                     Guylaine Rocourt and Elizabeth M.
 18                                                Levy in support thereof and
                       Defendants.                 Defendant’s Certificate of Interested
 19                                                Parties]
 20                                               Complaint Filed: December 26, 2017
 21
 22
 23
 24
 25
 26
 27
 28

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   1            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
   2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HER COUNSEL
   3   OF RECORD:
   4            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and
   5   1446, MICHAEL KORS (USA), INC. (“Michael Kors”) hereby removes the
   6   above-captioned action from the California Superior Court, County of Los Angeles
   7   to the United States District Court for the Central District of California. This Court
   8   has original federal jurisdiction over this action pursuant section 1332(d)(2) (the
   9   Class Action Fairness Act of 2005) (“CAFA”), and removal jurisdiction under 28
 10    U.S.C. sections 1441(a), 1446 and 1453. Removal is proper for the following
 11    reasons:
 12    I.       PROCEDURAL BACKGROUND IN STATE COURT
 13             1.   On December 26, 2017, Plaintiff Victoria E. Lucas (“Plaintiff”) filed
 14    an unverified Complaint in the Superior Court of the State of California, County of
 15    Los Angeles, entitled “Victoria E. Lucas v. MICHAEL KORS (USA), INC., a
 16    Delaware corporation; DECTON INC., a California Corporation; DECTON
 17    STAFFING SERVICES, a business entity form unknown; and DOES 1 through 50,
 18    inclusive,” designated Case No. BC688239, alleging seven causes of action against
 19    Defendants1 for: (1) Failure To Pay Overtime Wages; (2) Failure To Pay
 20    Minimum Wages; (3) Failure To Provide Meal Periods (4) Failure To Provide Rest
 21    Periods; (5) Failure to Pay All Wages Upon Termination; (6) Failure to Provide
 22    Accurate Wage Statements; and (7) Unfair Competition. A true and correct copy
 23    of the Complaint is attached hereto as Exhibit A.
 24             2.   The Complaint seeks to certify the following classes:
 25
       1
 26     Michael Kors (USA), Inc., Decton Inc. and Decton Staffing Services are
       collectively referred to as “Defendants.” To date, Michael Kors does not have any
 27    knowledge as to whether Decton Inc. and/or Decton Staffing Services have been
 28    served, and Plaintiff has not filed a proof of service regarding service on the
       Decton entities. (Levy Decl. ¶ 4).
                                                  1
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   1
       •        All current and former employees of Defendants within the State of
   2
                California at any time commencing four (4) years preceding the filing of
   3            Plaintiff’s complaint up until the time that notice of the class action is
   4            provided to the class (collectively referred to as “Non-Exempt Employee
                Class”).
   5
       •        All current and former employees of Defendants within the State of
   6            California at any time commencing four (4) years preceding the filing of
   7            Plaintiff’s complaint up until the time that notice of the class action is
                provided to the class, who worked shifts of 5 hours or more (collectively
   8            referred to as “Meal Period Class”).
   9
       •        All current and former employees of Defendants within the State of
 10             California at any time commencing four (4) years preceding the filing of
 11             Plaintiff’s complaint up until the time that notice of the class action is
                provided to the class who worked shifts of 4 hours or more (collectively
 12             referred to as “Rest Period Class”).
 13    •        All current and former employees of Defendants within the State of
 14             California at any time commencing four (4) years preceding the filing of
                Plaintiff’s complaint up until the time that notice of the class action is
 15
                provided to the class, who did not receive all their wages upon termination
 16             or resignation of their employment (collectively referred to as “Late Pay
                Class”).
 17
 18    •        All current and former employees of Defendants within the State of
                California at any time commencing one (1) year preceding the filing of
 19             Plaintiff’s complaint up until the time that notice of the class action is
 20             provided to the class, were provided with wage statements (collectively
                referred to as “Wage Statement Class”).
 21
       Ex. A, Compl. ¶ 23.
 22
 23             3.    On January 10, 2018, Judge Kenneth R. Freeman of the Los Angeles
 24    County Superior Court issued an Initial Status Conference Order. A true and
 25    correct copy of this order is attached hereto as Exhibit B.
 26             4.    On January 29, 2018, Michael Kors was served with the Complaint
 27    and the (1) Summons, (2) Notice of Case Assignment, (3) Civil Case Cover Sheet
 28
                                                   2
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   1   and (4) Early Organizational Meeting Packet, which are attached hereto as Exhibit
   2   C.
   3            5.   On February 8, 2018, Plaintiff filed a Proof of Service of Summons
   4   regarding the service on Michael Kors, which is attached hereto as Exhibit D.
   5            6.   On February 26, 2018, Michael Kors answered Plaintiff’s unverified
   6   Complaint in the Superior Court of California, County of Los Angeles. A true and
   7   correct copy of Michael Kors’ Answer is attached hereto as Exhibit E.
   8            7.   Exhibits A-E constitute all pleadings, processes and orders served on,
   9   or filed by, Michael Kors in this action, as well as all filings pulled from the Los
 10    Angeles Superior Court’s records. (See Declaration of Elizabeth M. Levy (“Levy
 11    Decl.”), at ¶ 3).
 12    II.      TIMELINESS OF REMOVAL
 13             8.   Plaintiff served the Summons and her unverified Complaint on
 14    Michael Kors on January 29, 2018. This Notice of Removal is timely because it is
 15    being filed within thirty (30) days of the service upon Michael Kors of a copy of
 16    the Summons and Complaint, and within one (1) year of the commencement of this
 17    action. See 28 U.S.C. § 1446(b); see also Murphy Bros., Inc. v. Michetti Pipe
 18    Stringing, Inc., 526 U.S. 344, 353-56 (1999) (stating that thirty-day removal period
 19    begins when defendant is formally served).
 20    III.     JURISDICTION UNDER THE CLASS ACTION
                FAIRNESS ACT (“CAFA”)
 21
                9.   This Court has original subject-matter jurisdiction over this action
 22
       under CAFA, codified in relevant part at 28 U.S.C. section 1332(d)(2). As set
 23
       forth below, this action is properly removable pursuant to 28 U.S.C. section 1441(a)
 24
       because the alleged amount in controversy exceeds $5,000,000, exclusive of
 25
       interest and costs, and is a purported class action in which a class member is a
 26
       citizen of a state different from that of defendants (see 28 U.S.C. §§ 1332(d)(2) &
 27
 28
                                                  3
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    1   (6)), and the number of putative class members is greater than 100. See 28 U.S.C.
    2   §§ 1332 (d)(5)(B).
    3   IV.      THERE IS MINIMAL DIVERSITY FOR REMOVAL
                 UNDER CAFA
    4
                 10.   CAFA requires only minimal diversity for the purpose of establishing
    5
        federal jurisdiction; that is, at least one purported class member must be a citizen
    6
        of a state different from any named defendant. See 28 U.S.C. § 1332(d)(2)(A).
    7
        Here, such minimal diversity exists among the parties. Plaintiff is a citizen of a
    8
        state that is different from the state of citizenship of Michael Kors.
    9
                 A.    Plaintiff Is A Citizen of California
   10
                 11.   For diversity purposes, a person’s domicile is the place where she
   11
        resides with the intent to remain indefinitely. Kanter v. Warner-Lambert Co., 265
   12
        F.3d 853, 857 (9th Cir. 2001) (“A person’s domicile is her permanent home, where
   13
        she resides with the intention to remain or to which she intends to return.”).
   14
        Citizenship is determined by the individual’s domicile at the time that the lawsuit
   15
        is filed. Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986); see also Zavala v.
   16
        Deutsche Bank Trust Co. Americas, No. C 13-1040 LB, 2013 WL 3474760, at *3
   17
        (N.D. Cal. July 10, 2013)(where a plaintiff’s complaint alleges he resides in
   18
        California, “in the absence of evidence to the contrary, [plaintiff] is a California
   19
        citizen for diversity purposes.”).
   20
                 12.   Plaintiff alleges that she “is a resident of California.” (Ex. A, Compl.
   21
        ¶ 9). Furthermore, Michael Kors’ review of public records for Plaintiff verifies
   22
        that she has continuously resided in Los Angeles County in California since at least
   23
        2012. (Levy Decl. at ¶ 5, Ex. 1). See State Farm Mut. Auto Ins. Co. v. Dyer, 19
   24
        F.3d 514, 520 (10th Cir. 1994) (residence is prima facie evidence of domicile).
   25
                 13.   Accordingly, Plaintiff is a citizen of the State of California.
   26
   27
   28
                                                     4
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    1            B.    Michael Kors Is Not A Citizen of California
    2            14.   For diversity purposes, the citizenship of a corporation is “every state
    3   and foreign state by which it has been incorporated and of the state or foreign state
    4   where it has its principal place of business[.]” 28 U.S.C. § 1332(c)(1).
    5            15.   The “principal place of business” means the corporate headquarters
    6   where a corporation’s high level officers direct, control and coordinate its activities
    7   on a day-to-day basis, also known as the corporation’s “nerve center.” Hertz Corp.
    8   v. Friend, 559 U.S. 77, 80-81, 92-93 (2010) (rejecting all prior tests in favor of
    9   “nerve center” test). As set forth below, Michael Kors is a citizen of New York
   10   and Delaware, and is not a citizen of California.
   11            16.   Michael Kors is incorporated in the State of Delaware and maintains
   12   its corporate headquarters in at 11 West 42nd Street, New York, NY 10036.
   13   (Rocourt Decl. ¶ 4). Michael Kors also maintains an office at One Meadowlands
   14   Plaza, East Rutherford, N.J. Id. Michael Kors’ high level officers direct, control,
   15   and coordinate its activities from its corporate headquarters in New York, N.Y. Id.
   16   Michael Kors’ high level corporate officers including its Chief Executive Officer,
   17   maintain offices in the New York, N.Y. headquarters, and Michael Kors’ corporate
   18   level functions are performed in the New York, N.Y. office. Additionally, Michael
   19   Kors’ executive and administrative functions, including payroll, human resources,
   20   corporate finance and accounting, are directed from either the New York, N.Y.
   21   corporate headquarters or the East Rutherford, N.J. corporate office. Id.
   22   Accordingly, Michael Kors is a citizen of Delaware and New York for diversity
   23   purposes. Michael Kors is not a citizen of California.
   24            C.    Decton’s Citizenship Must Be Disregarded
   25            17.   Plaintiff alleges Decton, Inc. is a California corporation and that
   26   Decton Staffing Services is an unknown business entity. (Ex. A, Compl. ¶¶ 11, 12).
   27   Assuming the Decton entities are citizens of California, it would not deprive this
   28   Court of jurisdiction because under CAFA’s minimal diversity requirements, only
                                                    5
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    1   one purported class member must be a citizen of a state different from any named
    2   defendant. See 28 U.S.C. § 1332(d)(2)(A).
    3            D.    Doe Defendants’ Citizenship Must Be Disregarded
    4            18.   The presence of Doe defendants in this case has no bearing on
    5   diversity of citizenship for removal. See 28 U.S.C. § 1441(a) (“For purposes of
    6   removal under this chapter, the citizenship of defendants sued under fictitious
    7   names shall be disregarded.”); see also Fristoe v. Reynolds Metals Co., 615 F.2d
    8   1209, 1213 (9th Cir. 1980) (“[U]nknown defendants sued as “Does” need not join
    9   in a removal petition.”). Thus, the existence of Doe Defendants 1 through 50, does
   10   not deprive this Court of jurisdiction.
   11            19.   Accordingly, the minimal diversity requirement under CAFA exists as
   12   Plaintiff and Michael Kors are citizens of different states.
   13   V.       THERE ARE MORE THAN 100 PUTATIVE CLASS
                 MEMBERS
   14
                 20.   CAFA requires that the aggregate number of members of proposed
   15
        classes in a complaint be at least 100. See 28 U.S.C. § 1332(d)(5)(B).
   16
                 21.   As noted earlier, Plaintiff’s general defined putative class is: “All
   17
        current and former employees of Defendants within the State of California at any
   18
        time commencing four (4) years preceding the filing of Plaintiff’s complaint up
   19
        until the time that notice of the class action is provided to the class (collectively
   20
        referred to as “Non-Exempt Employee Class”).” (Ex. A, Compl. ¶ 23). Plaintiff
   21
        estimates that the proposed class totals “at least one hundred” individuals. (Ex. A,
   22
        Compl. ¶ 26).
   23
                 22.   From December 26, 2013 to December 26, 2017, (the “putative class
   24
        period”), there have been approximately 432 non-exempt employees employed by
   25
        Michael Kors in California who fall within Plaintiff’s “Non-Exempt Employee”
   26
        putative class. (Rocourt Decl. at ¶ 6). Thus, the requisite number of at least 100
   27
        putative class members is satisfied here.
   28
                                                    6
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    1   VI.      PLAINTIFF’S CLAIMS PLACE MORE THAN $5,000,000
                 IN CONTROVERSY
    2
                 23.   While Michael Kors denies any liability as to Plaintiff’s claims, the
    3
        amount in controversy as alleged in the Complaint exceeds $5,000,000, exclusive
    4
        of interest and costs. All calculations are based on the putative classes alleged in
    5
        the Complaint, and in no way indicate that class treatment is appropriate in this
    6
        case, that Plaintiff has standing to represent such classes, or that the classes
    7
        proposed would meet the requirements set forth in Rule 23 of the Federal Rules of
    8
        Civil Procedure. Michael Kors expressly reserves the right to challenge Plaintiff’s
    9
        claims, adequacy and standing to represent any class, class definitions, and
   10
        calculation of damages in all respects.
   11
                 24.   Under CAFA, the claims of the individual members in a class action
   12
        are aggregated to determine if the amount in controversy exceeds the sum or value
   13
        of $5,000,000. See 28 U.S.C. § 1332(d)(6). Congress intended federal jurisdiction
   14
        to be appropriate under CAFA “if the value of the matter in litigation exceeds
   15
        $5,000,000 either from the viewpoint of the plaintiff or the viewpoint of the
   16
        defendant, and regardless of the type of relief sought (e.g., damages, injunctive
   17
        relief, or declaratory relief).” Sen. Jud. Comm. Rep., S. REP. 109-14, at 42.
   18
        Moreover, any doubts regarding the maintenance of interstate class actions in state
   19
        or federal court should be resolved in favor of federal jurisdiction. S. Rep. 109-14,
   20
        at 42-43 (“[I]f a federal court is uncertain about whether ‘all matters in controversy’
   21
        in a purported class action ‘do not in the aggregate exceed the sum or value of
   22
        $5,000,000, the court should err in favor of exercising jurisdiction over the
   23
        case . . . . Overall, new section 1332(d) is intended to expand substantially federal
   24
        court jurisdiction over class actions. Its provisions should be read broadly, with a
   25
        strong preference that interstate class actions should be heard in a federal court if
   26
        properly removed by any defendant.”).
   27
   28
                                                   7
                        DEFENDANT MICHAEL KORS (USA), INC.’S NOTICE OF REMOVAL
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    1            25.   To establish that the amount in controversy exceeds the jurisdictional
    2   amount, the defendant must make a plausible claim that the amount in controversy
    3   exceeds that amount. Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.
    4   Ct. 547, 554 (2014).
    5            26.   Plaintiff does not allege a specific amount in damages for the class she
    6   purports to represent, but states that she seeks damages in excess of twenty-five
    7   thousand dollars ($25,000). (Ex. C, Civil Cover Sheet). Thus, the amount in
    8   controversy, as plead by Plaintiff, is at least $25,000 per plaintiff, or at least
    9   $10,800,000 ($25,000 x 432 putative class members). See Abrego v. The Dow
   10   Chem. Co., 443 F.3d 676, 689 (2006) (finding jurisdictional amount met where
   11   complaint sought no specific amount in damages, but pled the amount in
   12   controversy to exceed $25,000 and there were 1,160 class members).
   13            27.   The United States Supreme Court, however, has instructed courts to
   14   look beyond the Complaint to determine whether the putative class action meets
   15   jurisdictional requirements. Standard Fire Ins. Co. v. Knowles, 568 U.S. 588
   16   (2013). In interpreting Standard Fire, the Ninth Circuit explained that courts
   17   cannot reinforce plaintiff’s prerogative, as master of the complaint, to avoid federal
   18   jurisdiction by forgoing a portion of the recovery on behalf of the putative class.
   19   Rodriguez v. AT&T Mobility Servs. LLC, 728 F.3d 975, 977 (9th Cir. 2013). A
   20   defendant seeking removal must prove by a preponderance of the evidence that the
   21   aggregate amount in controversy exceeds the jurisdictional minimum. Id. at 977
   22   (“the proper burden of proof imposed upon a defendant to establish the amount in
   23   controversy is the preponderance of the evidence standard”).
   24            28.   In 2011, Congress amended the federal removal statute to specify that,
   25   where the underlying state practice “permits recovery of damages in excess of the
   26   amount demanded . . . removal of the action is proper on the basis of an amount in
   27   controversy asserted . . . if the district court finds, by the preponderance of the
   28   evidence, that the amount in controversy exceeds the amount specified in section
                                                    8
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    1   1332(a).” Pub.L. 112–63, December 7, 2011, 125 Stat. 758, § 103(b)(3)(C)
    2   (codified at 28 U.S.C. § 1446(c)(2) (emphasis added)); accord Abrego, 443 F.3d at
    3   683 (“Where the complaint does not specify the amount of damages sought, the
    4   removing defendant must prove by a preponderance of the evidence that the
    5   amount in controversy requirement has been met”); Guglielmino v. McKee Foods
    6   Corp., 506 F.3d 696, 701 (9th Cir. 2007) (“the complaint fails to allege a
    7   sufficiently specific total amount in controversy … we therefore apply the
    8   preponderance of the evidence burden of proof to the removing defendant”). The
    9   defendant must show that it is “more likely than not” that the jurisdictional
   10   threshold is met. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir.
   11   1996) (“where a plaintiff's state court complaint does not specify a particular
   12   amount of damages, the removing defendant bears the burden of establishing, by a
   13   preponderance of the evidence, that the amount in controversy exceeds [the
   14   jurisdictional threshold]. Under this burden, the defendant must provide evidence
   15   establishing that it is ‘more likely than not’ that the amount in controversy exceeds
   16   that amount”).
   17            29.   The burden of establishing the jurisdictional threshold “is not
   18   daunting, as courts recognize that under this standard, a removing defendant is not
   19   obligated to research, state, and prove the plaintiff’s claims for damages.” Korn v.
   20   Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008)
   21   (internal quotations omitted); see also Valdez v. Allstate Ins. Co., 372 F.3d 1115,
   22   1117 (9th Cir. 2004) (“the parties need not predict the trier of fact’s eventual award
   23   with one hundred percent accuracy”).
   24            30.   It is well-settled that “the court must accept as true plaintiff’s
   25   allegations as plead in the Complaint and assume that plaintiff will prove liability
   26   and recover the damages alleged.” Muniz v. Pilot Travel Ctrs. LLC, No. CIV. S-
   27   07-0325FCDEFB, 2007 WL 1302504, *3 (E.D. Cal. May 1, 2007) (denying
   28   motion for remand of a class action for claims under the California Labor Code for
                                                     9
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    1   missed meal and rest periods, unpaid wages and overtime, inaccurate wage
    2   statements, and waiting-time penalties).
    3            31.   If a plaintiff asserts statutory violations, the court must assume that
    4   the violation rate is 100% unless the plaintiff specifically alleges otherwise:
    5                  As these allegations reveal, plaintiff includes no fact-
                       specific allegations that would result in a putative class or
    6                  violation rate that is discernibly smaller than 100%, used
                       by defendant in its calculations. Plaintiff is the “master
    7                  of [her] claim[s],” and if she wanted to avoid removal,
                       she could have alleged facts specific to her claims
    8                  which would narrow the scope of the putative class or
                       the damages sought. She did not.
    9
   10   Muniz, 2007 WL 1302504, at *4 (citing Caterpillar, Inc. v. Williams, 482 U.S.
   11   386, 392 (1987))(emphasis added); see also Arreola v. The Finish Line, No. 14-
   12   CV-03339-LHK, 2014 WL 6982571, *4 (N.D. Cal. Dec. 9, 2014) (“District courts
   13   in the Ninth Circuit have permitted a defendant removing an action under CAFA to
   14   make assumptions when calculating the amount in controversy—such as assuming
   15   a 100 percent violation rate, or assuming that each member of the class will have
   16   experienced some type of violation—when those assumptions are reasonable in
   17   light of the allegations in the complaint.”); Coleman v. Estes Express Lines, Inc.,
   18   730 F. Supp. 2d 1141, 1149 (C.D. Cal. 2010) (“[C]ourts have assumed a 100%
   19   violation rate in calculating the amount in controversy when the complaint does
   20   not allege a more precise calculation.”).
   21            The Complaint seeks relief on behalf of “All current and former employees
   22   of Defendants within the State of California at any time commencing four (4) years
   23   preceding the filing of Plaintiff’s complaint up until the time that notice of the
   24   class action is provided to the class.” (Ex. A, Compl., ¶ 23). During the relevant
   25   time period identified in the Complaint, approximately 432 non-exempt hourly
   26   employees were employed by Michael Kors in California. (Rocourt Decl. ¶ 6).
   27   The total number of work weeks for the 432 employees is 39,055 work weeks.
   28   (Rocourt Decl. ¶ 6). During the proposed class period, the average hourly rate was
                                                    10
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    1   $18.82. Id.
    2            32.   As set forth below, the amount in controversy implicated by the class-
    3   wide allegations easily exceeds $5,000,000.00. All calculations supporting the
    4   amount in controversy are based on the Complaint’s allegations, assuming
    5   without any admission, the truth of the facts alleged and that liability is
    6   established.
    7            A.    Missed Meal and Rest Breaks
    8            33.   Plaintiff seeks recovery on her behalf and on behalf of the putative
    9   class based on her allegation that Defendants “have had a consistent policy of
   10   failing to provide Plaintiff and other similarly situated employees or former
   11   employees within the State of California a thirty (30) minute uninterrupted meal
   12   period for days on which the employees worked more than five (5) hours in a work
   13   day and a second thirty (30) minute uninterrupted meal periods for days on which
   14   the employees worked in excess of ten (10) hours in a work day, and failing to
   15   provide compensation for such unprovided meal periods.” (Ex. A, Compl. ¶18).
   16   Plaintiff also alleges that Defendants “have had a consistent policy of failing to
   17   provide Plaintiff and similarly situated employees or former employees within the
   18   State of California rest periods of at least ten (10) minutes per four (4) hours
   19   worked or major fraction thereof.” (Ex. A, Compl. ¶ 20). The amount Plaintiff
   20   seeks on these claims is not apparent on the face of the Complaint. However,
   21   pursuant to Labor Code section 226.7, the money owed for a meal period not
   22   provided or a rest break not authorized and permitted is one hour of pay for each
   23   violation. See CAL. LAB. CODE § 226.7(c).
   24            34.   As to these claims, Plaintiff seeks to certify a class covering the last
   25   four years. Michael Kors employed approximately 432 non-exempt employees in
   26   California from December 26, 2013 through December 26, 2017. (Rocourt Decl. ¶
   27   6). These employees worked at least 39,055 work weeks at an average hourly rate
   28   of $18.82 during this period of time. (Rocourt Decl. ¶ 6). Assuming that each
                                                    11
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    1   putative class member whose work weeks are included in this estimate missed only
    2   two meal breaks per work week, the putative class’s missed meal break penalties
    3   from December 26, 2013 through December 26, 2017 would be approximately
    4   $1,470,030.20 [$18.822/hour x 2 violations x 39,055 work weeks]. Assuming
    5   each putative class member only missed two rest breaks per week, the putative
    6   class’s missed rest break penalties also total $1,470,030.20, bringing the total
    7   penalties for missed meal and rest break penalties to nearly three million dollars—
    8   $2,940,060.40.
    9            B.    Failure to Pay Overtime
   10            35.   Plaintiff alleges Defendants violated California Labor Code §§510
   11   and 1194 by failing to pay all overtime due. Specifically, Plaintiff alleges, “At all
   12   times herein mentioned, Plaintiff and Non-Exempt Employee Class worked for
   13   Defendants during shifts that consisted of more than eight hours in a work day
   14   and/or more than forty hours in a work week and were not paid overtime wages for
   15   all hours worked as a result of, including but not limited to, Defendants improperly
   16   rounding time worked by its employees.” (Ex. A, Compl. ¶¶54-55).
   17            36.   Given Plaintiff’s allegations, it is reasonable to assume an average of
   18   at least one hour of unpaid overtime each pay period for each class member during
   19   the relevant time period. See Oda v. Gucci Am., Inc., No. 2:14–cv–7468–SVW
   20   (JPRx), 2015 WL 93335, at *4 (C.D. Cal. Jan. 7, 2015) (finding it reasonable to
   21   assume each class member worked at least one hour of unpaid overtime based
   22   allegations that the defendant “sometimes” failed to pay overtime); Patel v. Nike
   23   Retail Servs., Inc., 58 F. Supp. 3d 1032, 1042 (N.D. Cal. 2014) (finding the
   24   assumption that each class member was owed one hour of overtime compensation
   25
        2
   26    This assumed violation rate is extremely conservative since it would be
        appropriate to assume a 100% violation rate. See, e.g., Coleman v. Estes Express
   27   Lines, Inc., 730 F. Supp. 2d 1141, 1149 (C.D. Cal. 2010)(properly assuming one
   28   missed meal and rest break per day where, as here, the plaintiff failed to allege a
        more precise calculation.)
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    1   per week appropriate where the complaint alleged overtime violations occurred
    2   “regularly”); Ray v. Wells Fargo Bank, N.A., No. CV 11-01477 AHM JCX, 2011
    3   WL 1790123, at *7 (C.D. Cal. May 9, 2011) (finding reasonable the defendant’s
    4   estimate of one hour of unpaid overtime per week for each class member where the
    5   complaint alleged “consistent” unpaid overtime work).
    6            37.   Assuming only an hour of unpaid overtime per week, the potential
    7   unpaid overtime totals at least $1,102,522.65. This figure is reached by
    8   multiplying 39,055 work weeks worked by non-exempt employees who were
    9   employed by Michael Kors in California from December 26, 2013 to December 26,
   10   2017 by $28.23 (i.e., 1.5 times the average hourly rate of $18.82 during the
   11   relevant period).
   12            C.    Failure to Provide Accurate Wage Statements
   13            38.   The Complaint also alleges that in violation of Labor Code section
   14   226, “Defendants have failed to comply with Labor Code §226(a) by not providing
   15   itemized wage statements accurately showing, including but not limited to, total
   16   hours worked during the pay period and pay due and owing for meal and rest break
   17   law violations.” (Ex. A, Compl. ¶ 21). Plaintiff also seeks penalties under Labor
   18   Code § 226(e) for alleged wage statement violations. (Ex. A, Compl., Prayer at par.
   19   C).
   20            39.   Labor Code section 226(e) provides a minimum of $50 for the initial
   21   violation of as to each employee, and $100 for each further violation as to each
   22   employee, up to a maximum penalty of $4,000 per employee. See CAL. LAB. CODE
   23   § 226(e). The statute of limitations for recovery of penalties under Labor Code
   24   section 226 is one year, see CAL. CIV. PROC. CODE § 340(a), which in this case,
   25   covers the period of December 26, 2016 through December 26, 2017.
   26            40.   During that period, there were approximately 380 non-exempt
   27   employees who worked for Michael Kors in California for at least 8,919 pay
   28
                                                  13
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    1   periods. (Rocourt Decl. at ¶¶ 5-6). Assuming a violation each pay period, penalties
    2   would total approximately $445,950 (8,919 pay periods times $50 per violation).
    3            D.    Waiting Time Penalties
    4            41.   Plaintiff’s prayer for relief alleges that Defendants must pay waiting
    5   time penalties under Labor Code section 203 for failure to pay all wages owed
    6   upon termination. (Ex. A, Compl. at p. 16, par. D.). Labor Code section 203
    7   authorizes penalties of one day of an employee’s regular daily rate for each day an
    8   employer fails to pay wages due following termination for a maximum of 30 days.
    9   See CAL. LAB. CODE § 203(a).
   10            42.   The limitations period for potential claims under Labor Code section
   11   203 is three years, which in this case, covers the period December 26, 2014 to
   12   December 26, 2017. During that period, there were approximately 93 putative
   13   class members in California whose employment ended. (Rocourt Decl. at ¶ 6).
   14   From December 26, 2014 through December 26, 2017, non-exempt employees’
   15   average hourly rate of pay was $17.87. Id. Assuming that the approximately 93
   16   former employees are owed 8 hours of pay per day3 for the maximum penalty of 30
   17   days’ wages, the alleged amount in controversy for just the claim for waiting time
   18   penalties would be approximately $398,858.40 [$4,288.80 ($17.87 x 8 hours x 30)
   19   x 93].
   20            E.    Unpaid Minimum Wage
   21            43.   Plaintiff also alleges “Defendants failed to pay Plaintiff and members
   22   of the Non-Exempt Employee Class minimum wage for all hours worked.” (Ex. A,
   23   Compl. ¶ 41).
   24   3
          This conservative assumption of eight hours a day is reasonable given Plaintiff’s
   25   allegations that “Plaintiff and Non-Exempt Employee Class worked for Defendants
   26   during shifts that consisted of more than eight hours in a work day and/or more
        than 40 hours in a work week,” and that Defendants had a consistent policy of
   27   failing to provide meal periods “for days on which the employees worked in excess
   28   of ten (10) hours in a work day.” (Ex. A, Compl. ¶¶ 18, 35).

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    1            44.   Conservatively assuming that the putative class members worked one
    2   hour per work week without being paid at least minimum wage, the potential
    3   unpaid wages total $351,495 (39,055 work weeks times 1/hour per week using an
    4   extremely conservative $9/rate hour, the lowest minimum wage rate during the
    5   relevant period).
    6            45.   Using extremely conservative estimates and without considering
    7   attorneys’ fees, the amount in controversy totals $5,238,866, and exceeds the
    8   jurisdictional threshold.
    9            F.    Attorneys’ Fees
   10            46.   Plaintiff also seeks attorneys’ fees. (Ex. A, Compl. at Prayer for
   11   Relief). A reasonable estimate of fees likely to be recovered may be used in
   12   calculating the amount in controversy. See Campbell v. Vitran Exp., Inc., 471 F.
   13   App’x 646, 649 (9th Cir. 2012) (attorneys’ fees are appropriately included in
   14   determining amount in controversy under CAFA); Muniz, 2007 WL 1302504, at *5
   15   (E.D. Cal. Apr. 30, 2007) (attorneys’ fees appropriately included in determining
   16   amount in controversy).
   17            47.   In the class action context, courts have found that 25 percent of the
   18   aggregate amount in controversy is a benchmark for attorneys’ fees award under
   19   the “percentage of fund” calculation and courts may depart from this benchmark
   20   when warranted. See, e.g., Powers v. Eichen, 229 F.3d 1249, 1256-57 (9th Cir.
   21   2000); Wren v. RGIS Inventory Specialists, No. C-06-05778 JCS, 2011 WL
   22   1230826, at *15-29 (N.D. Cal. Apr. 1, 2011) (finding ample support for adjusting
   23   the 25% presumptive benchmark upward and found that plaintiffs’ request for
   24   attorneys’ fees in the amount of 42% of the total settlement payment was
   25   appropriate and reasonable in the case); Cicero v. DirecTV, Inc., No. EDCV 07-
   26   1182, 2010 WL 2991486, at *6-7 (C.D. Cal. July 27, 2010) (finding attorneys’ fees
   27   in the amount of 30% of the total gross settlement amount to be reasonable); see
   28   also In re Quintas Secs. Litig., 148 F. Supp. 2d 967, 973 (N.D. Cal. 2001) (noting
                                                   15
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    1   that in the class action settlement context the benchmark for setting attorneys’ fees
    2   is 25 percent of the common fund).
    3            48.   Here, even under the conservative benchmark of 25 percent of the
    4   total recovery, attorneys’ fees based on the amount in controversy established
    5   above could be as high as $1,309,716.50, which brings the total amount in
    6   controversy to at least $6,548,582.50.
    7   VII. ENTITLEMENT TO CAFA REMOVAL
    8            49.   Because Plaintiff and Michael Kors are citizens of different states,
    9   there are more than 100 putative class members, and the amount in controversy
   10   exceeds $5,000,000, exclusive of interest and costs, this Court has original
   11   jurisdiction of this action pursuant to 28 U.S.C. section 1332(d)(2). This action is
   12   therefore a proper one for removal to this Court.
   13            50.   To the extent that Plaintiff has alleged any other claims for relief in
   14   the Complaint over which this Court would not have original jurisdiction under 28
   15   U.S.C. section 1332(d), the Court has supplemental jurisdiction over any such
   16   claims pursuant to 28 U.S.C. section 1367(a).
   17   VIII. VENUE
   18            51.   Venue lies in this Court pursuant to 28 U.S.C. sections 1441, 1446(a)
   19   and 84(a). This action was originally brought in the Superior Court of the State of
   20   California, County of Los Angeles. Further, as discussed above, Plaintiff is a
   21   citizen of California and lives in Los Angeles County. Los Angeles County falls
   22   within the jurisdiction of the United States District Court, Central District of
   23   California.
   24   IX.      NOTICE OF REMOVAL
   25            52.   Pursuant to 28 U.S.C. Section 1446(d), written notice of the filing of
   26   this Notice of Removal will be promptly served on Plaintiff and, together with a
   27   copy of the Notice of Removal, will be filed with the Clerk of the Superior Court
   28   of the State of California, County of Los Angeles.
                                                    16
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    1            53.   This Notice of Removal will be served on counsel for Plaintiff. A
    2   copy of the Proof of Service regarding the Notice of Removal will be filed shortly
    3   after these papers are filed and served.
    4   X.       PRAYER FOR REMOVAL
    5            WHEREFORE, Michael Kors prays that this civil action be removed from
    6   the Superior Court of the State of California, County of Los Angeles, to the United
    7   States District Court for the Central District of California.
    8
    9
        DATED: February 27, 2018                     Respectfully submitted,
   10
                                                     SEYFARTH SHAW LLP
   11
   12
                                                     By: /s/ Elizabeth M. Levy
   13                                                   Jon D. Meer
                                                        Elizabeth M. Levy
   14
                                                     Attorneys for Defendant
   15                                                MICHAEL KORS (USA), INC.
   16
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                             Exhibit A
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   4 Facsimile (310)553-3603
                                                                    Sherri R. Caper, aewmaOlficer/Clerfc
   5 Attorneys for Plaintiffs,                                      By:.   A4- AiJltf . Deputy
     VICTORIA E. LUCAS, on behalf                                             Moses Solo
   6 of herself and all others similarly situated
   7

   8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                 FOR THE COUNTY OF LOS ANGELES - CENTRAL CIVIL WEST
  10
  11 VICTORIA E. LUCAS, on behalf of herself )                CASE NO.:          BC 6 8 8 2 3 9
     and all others similarly situated,
  12                                         )                CLASS ACTION COMPLAINT FOR
                     Plaintiffs,             )                DAMAGES, AND RESTITUTION
  13
                     v.                                       1.    FAILURE TO PAY OVERTIME
  14                                                                WAGES;
  15 MICHAEL KORS (USA), INC., a Delaware )                   2.   ' FAILURE TO PAY MINIMUM
     corporation; DECTON INC., a California   )                      WAGES;
  16 corporation; DECTON STAFFING
     SERVICES, a business entity form unknown; )              3.    FAILURE TO PROVIDE MEAL
  17 and DOES 1 through 100, Inclusive         )                    PERIODS;
  18                 Defendants.                              4.    FAILURE TO PROVIDE REST
                                                                    PERIODS;
  19
                                                              5.    FAILURE TO PAY ALL WAGES
  20                                                                UPON TERMINATION;
* 21                                                          6.    FAILURE TOPROVIDE
                                                                    ACCURATE WAGE .
  22                                                                STATEMENTS; and
                                                       )
  23                                                   )      7.    UNFAIR COMPETITION
  24                                                   )            DEMAND FOR JURY TRIAL
  25          COMES NOW plaintiffVICTORIA E. LUCAS (hereinafter “Ms. Lucas” and/or
  26 “Plaintiff*) on behalf of herself and all others similarly situated, and alleges as follows:
  21   ///

  28 ///

                                                    1
                                         CLASS ACTION COMPLAINT
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  1                                     GENERAL ALLEGATIONS
  2                                           INTRODUCTION
  3         1.     This is a Class Action, pursuant to California Code of Civil Procedure §382, on
  4 behalf of Plaintiff and all other current and former similarly situated employees employed by or
  5 formerly employed by MICHAEL KORS (USA), INC., DECTON INC., DECTON STAFFING
  6 SERVICES, any subsidiaries or affiliated companies and any temporary agencies who placed
  7 temporary employees to work at MICHAEL KORS (USA), INC. during the relevant time period
  8 (hereinafter referred to as “Defendants”), within the State of California.
  9         2.      For at least four (4) years prior to the filing of this action and through to the present
 10 Defendants have had a consistent policy of failing to pay wages, including overtime wages, to
 11 Plaintiff and other non-exempt employees in the State of California in violation of California state
 12 wage and hour laws as a result of, including but not limited to, unevenly rounding time worked.
 13          3.     For at least four (4) years prior to the filing of this action and continuing to the
 14 present, Defendants have had a consistent policy of failing to provide Plaintiff and other similarly
 15 situated employees or former employees within the State of California a thirty (30) minute
 16 uninterrupted meal period for days on which the employees worked more than five (5) hours in a
 17 workday and a second thirty (30) minute uninterrupted meal periods for days on which the
 18 employees worked in excess often (10) hours in a work day, and failing to provide compensation
 19 for such unprovided meal periods as required by California wage and hour laws.
 20          4.     For at least for (4) years prior to the filing of this action and continuing to the
 21 present, Defendants have had a consistent policy offailing to provide Plaintiff and similarly
 2 2 situated employees or former employees within the State of California rest periods of at least ten
 23 (10) minutes per four (4) hours worked or major fraction thereof and failing to provide
 24 compensation for such unprovided rest periods as required by California wage and hour laws.
 25          5.     For at least for (4) years prior to the filing ofthis action and continuing through the
 2 6 present, Defendants have failed to pay Plaintiff and other similarly situated employees the full
 27 amount oftheir wages owed to them upon termination and/or resignation as required by Labor
 2B Code 88 201 or 202.

                                                          2
                                         CLASS ACTION COMPLAINT
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   1         6.     Plaintiff, on behalf of herself and all other similarly situated employees, brings this
   2 action pursuant to, including but not limited to, California Labor Code §§ 200,201,201.3,202,
   3 203,226,226.7,510,512,1194,1194.2,1197,2810.3 and California Code of Regulations. Tide 8,
   4 §11070, seeking overtime and minimum wages, premium wages for missed meal periods,
   5 penalties, and reasonable attorney’s fees and costs.
   6         7.     Plaintiff; on behalf ofherself and all other similarly situated employees, pursuant
   7 to California Business & Professions Code §§17200-17208 also seeks all monies owed but
   8 withheld and retained by Defendants to which Plaintiff and members of the Class are entided.
   9                                               PARTIES
 10          A.     Plaintiff
 11          S.     Venue as to each defendant is proper in this judicial district, pursuant to California
 12 Code of Civil Procedure §395. Defendants operate and do business in California^ and each
 13 defendant is within the jurisdiction of this court for service of process purposes. The unlawful acts
 14 alleged herein have a direct effect on Plaintiff and those similarly situated within the State of
 15 California. Defendants employ numerous Class Members in the State of California.
 16          9.     Plaintiff, VICTORIA E. LUCAS, is a resident of California. At all relevant times
 17 herein, he has or had been employed by Defendants as a non-exempt employee with the tide of
 18 Packer in California.
 19          B.     Defendants
 20          10.    Defendant, MICHAEL KORS (USA), INC. (“MK” or ’’Defendants”)} a Delaware
 21 corporation, manufactures, distributes, and designs clothes in California and other parts ofthe
 22 United States. MK employed Plaintiff and similarly situated persons within the State of
 23 California.
 24          11.    Defendant, DECTON INC. (”Decton” or ’’Defendants”), a California corporation,
 25 provides staffing services. Decton employed Plaintiff and similarly situated persons within the
 26 State of California.
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  1          12.    Defendant, DECTON STAFFING SERVICES (“Decton Staffing” or
  2 “Defendants”), a business entity form unknown, provides staffing services. Decton Staffing
  3 employed Plaintiff and similarly situated persons within the State of California.
  4          13.    Plaintiff is informed and believes that Defendants are joint employers in that they
  5 both employed Plaintiff and similarly situated employees at the same time and were operating as a
  6 joint enterprise at all relevant time periods.
  7          14.    Plaintiff is informed and believes, and based thereon alleges that pursuant to Labor,
  8 Code §2810.3(b) Defendants share the civil legal responsibility and civil liability for the alleged
  9 Labor Code violations.
 10          15.    The true names and capacities, whether individual, corporate, associate, or
 11 otherwise, of defendants sued herein as DOES 1 through 100, inclusive, are currently unknown to
 12 Plaintiff, who therefore sues defendants by such fictitious names under Code of Civil Procedure
 13 §474. Plaintiff is informed and believes, and based thereon alleges, that each ofthe defendants
 14 designated herein as a DOE is legally responsible in some manner for the unlawful acts referred to
 15 herein. Plaintiffwill seek leave of court to amend this Complaint to reflect the true names and
 16 capacities of the defendants designated hereinafter as DOES when such identities become known.
 17          16.    Plaintiff is informed and believes, and based thereon alleges, that each defendant
 18 acted in all respect pertinent to this action as the agent ofthe other defendant, carried out ajoint
 19 scheme, business plan or policy in all respects pertinent hereto, and the acts of each defendant are
 2 0 legally attributable to the other defendants.
 21                                     FACTUAL BACKGROUND
 22          17.     Plaintiff and other similarly situated employees have not been paid, during the
 2 3 relevant liability periods, wages for all time worked, including overtime wages, as a result of,
 2 4 including but not limited to, improperly rounding time worked by their employees.
 25          18.    Defendants have had a consistent policy of failing to provide Plaintiff and other
 2 6 similarly situated employees or former employees within the State of California a thirty (30)
 2 7 minute uninterrupted meal period for days on which the employees worked more than five (5)
 2 8 hours in a workday and a second thirty (30) minute uninterrupted meal periods for days on which

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  1 the employees worked in excess of ten (10) hours in a work day, and failing to provide
  2 compensation for such unprovided meal periods.
  3         19.    Plaintiff and other similarly situated employees or fozmer employees at all times
  4 pertinent hereto were not exempt from the meal break provisions of California law, and the
  5 implementing rules and regulations of the 1WC California Wage Orders.
  6         20.     Defendants have had a consistent policy of failing to provide Plaintiff and similarly
  7 situated employees or former employees within the State of California rest periods of at least ten
  8 (10) minutes per four (4) hours worked or major fraction thereof and failing to provide
  9 compensation for such unprovided rest periods as required by California wage and hour laws.
 10         21.    Defendants have failed to comply with Labor Code §226(a) by not providing
 11 itemized wage statements accurately showing, including but not limited to, total hours worked
 12 during the pay period and pay due and owing for meal and rest break law violations.
 13         22.     At the time Plaintiff’s employment and the employment of other former employees
 14 i)f Defendants ended, Defendants willfully failed to pay overtime wages, minimum wages,-and one
 15 lour ofwages in lieu of each unprovided or interrupted meal period and unprovided rest period.
 16                                CLASS ACTION ALLEGATIONS
 17         23.    Plaintiff brings this action on behalf ofherself, and all others similarly situated,
 18 as a class action pursuant to California Code of Civil Procedure §382/ Plaintiff seeks to represent
 19 five Classes composed ofand defined as follows:
 20                 Non-Exempt Employee Class
 21                 All current and former employees ofDefendants within the State of California at
                    any time commencing four (4) years preceding die filing of Plaintiffs complaint up
 22                 until the time that notice of the class action is provided to the class (collectively -
                    referred to as “Non-Exempt Employee Class”).
 23
                    Meal Period Class
 24
                    All current and former employees ofDefendants within the State of California at
 25                 any time commencing four (4) years preceding the filing ofPlaintiffs complaint up
                    until the time that notice ofthe class action is provided to the class, who worked
 26                 shifts of 5 hours or more (collectively referred to as “Meal Period Class”).
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  1                  Rest Period Class
  2                  All current and former employees of Defendants within the State of California at
                     any time commencing four (4) years preceding the filing ofPlaintiff’s complaint up
  3                  until the time that notice ofthe class action is provided to the class, who worked
                     shifts of4 horns or more (collectively referred to as “Rest Period Class*’).
  4
                     Late Pav Class
  5
                     All former employees of Defendants within the State of California at any time
  6                  commencing three (3) years preceding the filing of Plaintiff’s complaint up until the
                     time that notice of the class action is provided to the class, who did not receive all
  7                  their wages upon termination and or resignation of their employment (collectively
                     referred to as “Late Pay Class**).
  8
                     Wage Statement Class
  9
                     All cunent and former employees of Defendants within the State
 10                  of California, to whom, at any time commencing one (1) year
                     preceding the filing of Plaintiff’s complaint up until the time that
 11                  notice of the class action is provided to the class, were provided with
                     wage statements (collectively referred to as “Wage Statement Class**).
 12
 13          24.     Plaintiffreserves the right under California Rules of Court Rule 3.765(b), to amend
 14 or modify the class description with greater specificity or further division into subclasses or
 15 limitation to particular issues.
 16          25.     This action has been brought and may properly be maintained as a class action
 17 inder the provisions of California Code of Civil Procedure §382 because there is a well-defined
 18 community of interest in the litigation and the proposed Class is easily ascertainable.
 19          A.      Niimerositv
 20          26.     The potential members ofthe Class as defined are so numerous thatjoinder of all
 21 jthe members of the Class is impracticable. While the precise number of Class Members has not
 22 ceen determined at this time, Plaintiff is informed and believes that there are at least one hundred
 23 Class Members employed by Defendants within the State of California.
 24          27.     Accounting for employee turnover during the relevant periods necessarily increases
 25 khis number substantially. Plaintiffalleges Defendants* employment records would provide
 2 6 information as to the number and location of all Class Members. Joinder of all members of the
 27 proposed Class is not practicable.
 28 '//

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   1         B.      Commonality
   2         28.     There are questions of law and fact common to Class Members. These common
   3 questions include, but are not limited to:
   4                 (1)      Did Defendants violate Labor Code § 1194 by not compensating Class
   5                          Members overtime wages?
   6                 (2)      Did Defendants violate Labor Code §§1194 and 1197 by not paying Class
   7                          Members minimum wages for all hours worked?
   8                 (3)      Did Defendants violate Labor Code § 512 by not providing Class Members
   9                          with meal periods?
  10                 (4)      Did Defendants violate Labor Code § 226.7 by not providing Class
  11                          Members additional wages for missed or interrupted meal periods?
  12                 (5)      Did Defendants violate Labor Code §226.7 by not providing Class Members
  13                          additional wages for missed rest periods?
  14                 (6)      Did Defendants violate Labor Code §§ 201 and 202 by failing to pay Class
  15                          Members upon termination or resignation all wages earned?
  16                 (7)      Are Defendants liable to Class Members for penalty wages under Labor
  17                        ■ Code 6 203?
  18                 (8)      Did Defendants violate Labor Code § 226(a) by not furnishing Class
  19                          Members with accurate wage statements?
  20                 (9)      Did Defendants violate the Unfair Competition Law, Business and
  21                          Professions Code §17200, et seq.t by its unlawful practices as alleged
  22                          herein?
  23                 (10)     Are Class Members entitled to restitution ofpenalty wages under Business
  24                          and Professions Code § 17203?
  25                 (11)     Are Class Members entitled to costs and attorney’s fees?
  26                 (12)     Are Class Members entitled to interest?
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        1          c.       Typicality

        2          29.      The claims ofPlaintiffherein alleged are typical of those claims which could be
        31 alleged by any member of the classes, and the relief sought is typical of the relief which would be
        4 sought by each of the members of the classes in separate actions. Plaintiff and all members of the
        5 Classes sustained injuries and damages arising out of and caused by Defendants1 common course of
        6 conduct in violation of laws and regulations that have the force and effect of law and statutes as
        7 alleged herein.
        8          D.       Adequacy of Representation
        9          30.      Plaintiffwill fairly and adequately represent and protect the interests ofthe
       10 nembers ofthe Classes. Counsel who represents Plaintiff is competent and experienced in
       11 litigating wage and hour class actions.
       12          £.       Superiority of Class Action
       13          31.      A class action is superior to other available means for the fair and efficient
       14 adjudication ofthis controversy. Individual joinder of all Class Members is not practicable, and
       15 questions of law and fact common to the Class predominate over any questions affecting only
       16 individual members of the Class. Each member ofthe Class has been damaged and is entitled to
       17 recovery by reason ofDefendants’ illegal policy and/or practice offailing to pay overtime wages,
       18 failing to pay minimum wages, foiling to provide meal and rest breaks or compensation in lieu
       19 hereof, failing to provide accurate itemized wage statements, and failing to pay all wages due upon
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       20 termination and/or resignation.
       21          32.      Class action treatment will allow those similarly situated persons to litigate their
       22 riaims in the manner that is most efficient and economical for the parties and the judicial system.
       23 Plaintiff is unaware ofany difficulties that are likely to be encountered in the management ofthis
       24 action that would preclude its maintenance as a class action.
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                                            FIRST CAUSE OF ACTION
      2                             FAILURE TO PAY OVERTIME WAGES
      3                         (By Plaintiff and the Class Against All Defendants)
      4          33.    Plaintiff realleges and incorporates by reference all of the allegations contained in
      5 the preceding paragraphs of this Complaint as though fully set forth herein.
      6          34.    At all times relevant to this complaint, California Labor Code §510 was in effect
      7 and provided: “(a) Eight hours of labor constitutes a day’s work. Any work in excess of eight hours
      8 in one workday and any work in excess of forty hours in any one workweek... shall be
      9 compensated at the rate of no less than one and one-half times the regular rate ofpay for an
     10 employee.”
.    11          35.    At all times herein mentioned, Plaintiff and Non-Exempt Employee Class worked
     12 for Defendants during shifts that consisted ofmore than eight hours in a work day and/or more than
     13 forty hours in a work week and were not paid overtime wages for all hours worked as a result of,
     14 ncluding but not limited to, Defendants improperly rounding time worked by its employees.
     15          36.    Accordingly, by requiring Plaintiff and Non-Exempt Employee Class to work in
     16 excess ofeight hours per day and/or forty hours per week and without properly compensating
     17 overtime wages, as described above, Defendants willfully violated the provisions ofLabor Code
     18 §1194.
     19          37.    As a result ofthe unlawful acts ofDefendants, Plaintiff and the Non-Exempt
     20 Employee Class have been deprived of overtime wages in an amounts to be determined at trial, and
     21 ire entitled to iccpvery ofsuch amounts, plus interest and penalties thereon, attorneys* fees, and
     22 costs, pursuant to Labor Code §§1194,1199; Code of Civil Procedure §1021.5; and Civil Code
     23 §3287.
     24                                   SECOND CAUSE OF ACTION
     25                             FAILURE TO PAY MINIMUM WAGES
     26                        (By Plaintiff and the Class Against All Defendants)
     27          38.    Plaintiff realleges and incorporates by reference all of the allegations contained in
     28 he preceding paragraphs ofthis Complaint as though hilly set forth herein.

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       1         39.     At all relevant times, Plaintiff and the members of the Non-Exempt Employee
       2 Class were employees of Defendants covered by Labor Code §1197 and applicable Wage Orders.
       3         40.     Pursuant to Labor Code § 1197 and applicable Wage Orders, Plaintiff and the
       4 members of the Non-Exempt Employee Class were entitled to receive minimum wages for all
       5 hours worked.
       6         41.     As a result of Defendants’ .unlawful conduct, including but not limited to
       7 Improperly rounding time worked, Defendants failed to pay Plaintiff and members of the Non-
       8 Exempt Employee Class minimum wages for all hours worked in violation of Labor Code §1197
       9 and applicable Wage Orders. As a result of Defendants’ unlawful conduct, Plaintiff and members
     10 ofthe Non-Exempt Employee Class have suffered damages in an amount, subject to proof, to the
     11 extent they were not paid minimum wages for all hours worked.
     12          42.     Pursuant to Labor Code §§ 1194 and 1194.2 Plaintiffand members of the Non-
     13 Exempt Employee Class are entitled to recover the full amount of unpaid minimum wages,
     14 penalties, prejudgment interest, liquidated damages, reasonable attorneys’ fees, and costs of suit.
     15                                     THIRD CAUSE OF ACTION
      16                            FAILURE TO PROVIDE MEAL PERIODS
      17                        (By Plaintiff and the Class Against All Defendants)
     18          43.     Plaintiffrealleges and incorporates by reference all ofthe allegations contained in
     19 the preceding paragraphs ofthis Complaint as though fully set forth herein.
     20          44.     Pursuant to Labor Code §512, no employer shall employ an employee for a work
     21 period of more than five (5) hours without a meal break of not less than thirty (30) minutes in
     22 which the employee is relieved of ail of his or her duties. Furthermore no employer shall employ
      23 an employee for a work period of more than ten (10) hours per day without providing the employee
      24 with a second meal period ofnot less than thirty (30) minutes in which the employee is relieved of
      25 all ofhis or her dudes. Plaintiff and other members of the Meal Period Class were not provided
      26 with requisite meal periods as contemplated under the law.
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     1            45.   Pursuant to Labor Code §226.7, if an employer fails to provide an employee with a
     21 meal period or rest period as provided in the applicable Wage Order of the Industrial Welfare
     3 Commission, the employer shall pay the employee one additional hour of pay at the employee's
     4) regular rate of compensation for each work day that the meal period or rest period is not provided.
     5            46.   By their failure to provide Plaintiff and members ofthe Meal Period Class with the
     61 leal periods contemplated by California law, and failing to provide compensation for such
     7 inprovided meal periods, as alleged above, Defendants willfully violated the provisions ofLabor
           /
     8 DCode §512 and applicable Wage Orders.
     9            47.   As a result ofDefendants* unlawful conduct Plaintiff and the other members of the
    10 Meal Period Class have suffered damages in an amount, subject to proof, to the extent they were
    11 aot paid additional pay owed for missed meal periods.
\
    12            48.   Plaintiff and the other members ofthe Meal Period Class are entitled to recover the
    13 full amount of their unpaid additional pay for missed meal periods. Pursuant to Code of Civil
    14 Procedure §1021.5, Plaintiffand the other members ofthe Meal Period Class are entitled to recover
    15 reasonable attorney’s fees and costs of suit.
    16            49.   Pursuant to Civil Code § 3287(a), Plaintiff and other members ofthe Meal Period
    171 Class are entitled to recover prejudgment interest on the additional pay owed for missed meal
    16 periods.
    19                                   FOURTH CAUSE OF ACTION
    20                             FAILURE TO PROVIDE REST PERIODS
    21                         (By Plaintiff and the Class Against All Defendants)
    22            50.   Plaintiff realleges and incorporates by reference all of the allegations contained in
    23 jtlie preceding paragraphs of this Complaint as though fully set forth herein.
    24            51.   California law and applicable Wage Orders require that employers “authorize and
    2 5 [permit” employees to take paid 10 minute rest periods in about the middle of each 4-hour work
    2 6 period “or major fraction thereof.” Accordingly, employees who work shifts of 3 Vz to 6 hours
    2 7 nust be provided 10 minutes ofpaid rest period, employees who work shifts of more than 6 and up
    28 to 10 hours must be provided with 20 minutes of paid rest period, and employees who work shifts

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        1 of more than 10 hours must be provided 30 minutes of paid rest period. Plaintiff and other
       2 members of the Rest Period Class were not provided with requisite rest periods as contemplated
        3 under the law.
        4           52.    Pursuant to Labor Code §226.7, if an employer fails to provide an employee with a
        5 meal period or rest period as provided in the applicable Wage Order of the Industrial Welfare
        6 Commission, the employer shall pay the employee one additional hour of pay at the employee’s
        7 regular rate of compensation for each work day that the meal period or rest period is not provided.
        8           53.    By their failure to provide Plaintiff and other members ofthe Rest Period Class
        9 with the rest periods contemplated by California law, and failing to provide compensation for such
      10 unprovided rest periods, as alleged above, Defendants willfully violated the provisions of Labor
      11 Code §226.7 and applicable Wage Orders.
      12            54.    As a result ofDefendants' unlawful conduct Plaintiff and the other members of the
      13 Rest Period Class have suffered damages in an amount, subject to proof, to the extent they were not
      141 paid additional pay owed for missed rest periods.
      15            55.    Plaintiff and the other members ofthe Rest.Period Class are entitled to recover the
      16 full amount oftheir unpaid additional pay for missed rest periods. Pursuant to Code of Civil
      17 Procedure §1021.5, Plaintiff and the other members of the Rest Period Class are entitled to recover
      18 reasonable attorney's fees and costs of suit
      19            56.    Pursuant to Civil Code § 3287(a), Plaintiff and other members of the Rest Period
      2 0 Class are entitled to recover prejudgment interest on the additional pay owed fdr missed rest
      21 reriods.                                                            .♦   -
      22                                      FIFTH CAUSE OF ACTION
      23                   * FAILURE TO PAY ALL WAGES UPON TERMINATION
      24                          (By Plaintiff and the Class Against All Defendants)
      25            57.    Plaintiff realleges and incorporates by reference all of the allegations contained in
      26 he preceding paragraphs ofthis Complaint as though fully set forth herein.
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         1         58.     At all relevant times, Plaintiff and other members ofthe Late Pay Class were
         2 employees of Defendants covered bv Labor Code §§ 201 and 202.
         3         59.     Pursuant to Labor Code §§ 201 or 202, Plaintiff and other members of the Late Pay
         4 Class were entitled upon tennination to timely payment of all wages earned and unpaid prior to
         5 tennination. Discharged employers were entitled to payment of all wages earned and unpaid prior
         6 to discharge immediately upon tennination. Employees who resigned were entitled to payment of
        7 ill wages earned and unpaid prior to resignation within 72 hours alter giving notice of resignation
        8 3r, if they gave 72 hours previous notice, they were entitled to payment of all wages earned and
        91 unpaid at the time of resignation.
       10          60.     Defendants failed to pay Plaintiff and other members ofthe Late Pay Class all
       11 wages earned and unpaid prior to termination in accordance with Labor Code §§ 201 or 202.
       12 Plaintiff and other members of the Late Pay Class are informed and believe and thereon allege that
       13 it all relevant times within the appEcable limitations period, Defendants had a practice of not
       14 saying upon termination, the wages owed to them as a consequence of overtime wages, minimum
       151 wages, and meal and rest period violations.
       16          61.    Defendants* failure to pay Plaintiff and members ofthe Late Pay Class all wages
       17 earned prior to termination in accordance with Labor Code §§201 and 202 was wilful. Defendants
       18 bad the ability to pay all wages earned by Plaintiff and other members ofthe Late Pay Class at the
       19
       20 policies or practices incompatible with the requirements ofLabor Code §§201 and 202.
       21          62.    Pursuant to Labor Code §§ 201 and 202 Plaintiff and other members of the Late
       22 Pay Class are entitled to all wages earned prior to termination that Defendants failed to pay (hem.
       23        * 63.    Pursuant to Labor Code § 203, Plaintiffand other members of the Late Pay Class
       24 are entitled to penalty wages from the date their earned and unpaid wages were due, upon
       25 termination, until paid, up to a maximum of30 days.
       26          64.    As a result ofDefendants* unlawful conduct Plaintiff and other members ofthe
       27 Late Pay Class have suffered damages in an amount subject to proof, to the extent they were not
                             •                                                                  »
       28 paid for all wages earned prior to termination.

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  1          65.    As a result ofDefendants* unlawful conduct Plaintiff and the other members of the
  2 Late Pay Class have suffered damages in an amount subject to proof, to the extent they were not
  3 paid all penalty wages owed under Labor Code § 203.
  4          66.    Pursuant to Labor Code §§218 and 218.5, Plaintiff and the other members of the
  5 Late Pay Class are entitled to recover the full amount oftheir unpaid wages, and penalty wages
   6 under Labor Code § 203, reasonable attorneys* fees, and costs of suit. Pursuant to Labor Code §
  7 218.6 or Civil Code § 3287(a), Plaintiff and the other members ofthe Late Pay Class are entitled to
   8 recover prejudgment interest on the amount oftheir unpaid wages and unpaid penalty wages.
   9                                   SIXTH CAUSE OF ACTION
. 10                FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
 11                         (By Plaintiff and the Class Against All Defendants)
 12          67. 1 Plaintiff realleges and incorporates by reference all of the allegations contained in
 13 the preceding paragraphs of this Complaint as though hilly set forth herein.
 14          68.    At all relevant times, Plaintiff and the other members of the Wage Statement Class
 15 were employees ofDefendants covered by Labor Code § 226.
 16 •        69.    Pursuant to Labor Code § 226(a), Plaintiffand the other members of the Wage
 17 Statement Class were entitled to receive, semi-monthly or at the time ofeach payment ofwages, an
 18 accurate itemized statement showing gross wages earned, net wages earned, all applicable hourly
 19 rates in effect during the pay period and the corresponding number of hours worked at each hourly
 20 rate by the employee.
 21          70.    Defendants failed to provide Plaintiff and the other members of the Wage
 22 Statement Class accurate itemized wag? statements in accordance with Labor Code § 226(a).
 23          71.    Plaintiffand the other members of the Wage Statement Class are informed and
 24 relieve and thereon allege that at all relevant limes, Defendants maintained and continue to
 25 maintain a policy and practice of issuing wage statements that do not show, including but not
 26 limited to, pay due and owing for meal and rest break law violations and payment and hours
 27 worked that were not paid. Defendants' practices resulted and continue to result in, the issuance of

 28 Wage Statements to Plaintiff and other members ofthe Class that do not comply with the

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  1 itemization requirements.
  2          72.    Defendants1 failure to provide Plaintiff and other members ofthe Wage Statement
  3 Class with accurate Wage Statements was knowing and intentional. Defendants had the ability to
  4 provide Plaintiff and the other members of the Wage Statement Class with accurate Wage
  5 Statements, but intentionally provided wage statements that Defendants knew were not accurate.
  6          73.    As a result of Defendants' unlawful conduct, Plaintiff and the other members of the
  7 Wage Statement Class have suffered injury. The absence of accurate information on their wage
  8 statements has delayed timely challenge to Defendants' unlawful pay practices, requires discovery
  9 md mathematical computations to determine the amount of wages owed, causes difficulty and
 10 expense in attempting to reconstruct time and pay records, and led to submission of inaccurate
 11 information about wages and amounts deducted from wages to state and federal government
 12 agencies.
 13          74.    Pursuant to Labor Code § 226(e) Plaintiff and other members ofthe Wage
 14 Statement Class are entitled to recover $50 for the initial pay period during the period in which
 15 violation of Labor Code § 226 occurred and $100 for each violation ofLabor Code § 226 in a
 16 subsequent pay period, not to exceed an Aggregate penalty of $4,000 per employee.
 17          75.    Pursuant to Labor Code §§ 226(e) and 226(g), Plaintiff and the other members of
 18 the Wage Statement Class are entitled to recover the full amount ofpenalties due under Labor Code
                                                                %
 19 § 226(e) reasonable attorney's fees and costs of suit.
 20                                  SEVENTH CAUSE OF ACTION
 21                                      UNFAIR COMPETITION
 22                     (By Plaintiff and Class Members Against All Defendants)
 23          76. ' Plaintiffrealleges and incorporates by reference all of the allegations contained in
 24 the preceding paragraphs ofthis Complaint as though fully set forth herein.
 25          77.    The unlawful conduct ofDefendants alleged herein constitutes unfair competition
 26 within the meaning ofBusiness & Professions Code § 17200. Due to their unlawful business
 27 practices in violation ofthe Labor Code. Defendants have gained a competitive advantage over
 28 other comparable companies doing business in the state of California that comply, with their

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      11 obligations to compensate employees in accordance with the Labor Code.
      2         78.     Asa result of Defendants* unfair competition as alleged herein, Plaintiff and
      31 similarly situated Class Members have suffered injury in fact and lost money or property. Plaintiff
      4 and similarly situated Class Members have been deprived from not being compensated overtime
      5 wages, from not being compensated minimum wages, from not being provided with meal and rest
      6 breaks or compensation in lieu thereof, from not being payed all wages due upon termination or
      71 resignation, and from being provided with inaccurate wage statements.
      8         79.     Pursuant to Business & Professions Code § 17203 Plaintiff and similarly situated
      91 Class Members are entitled to restitution of all wages and other monies owed to them under the
     10 Labor Code, including interest thereon, in which they had a property interest which Defendants
     11 failed to pay them but withheld and retained for themselves. Restitution ofthe money owed to
     12 Plaintiff and similarly situated Class Members is necessary to prevent Defendants from becoming
     13 unjustly enriched bv their failure to comply with the Labor Code.
     14         80.     Plaintiff and similarly situated Class Members are entitled to recover reasonable
     15 attorneys* fees in connection with their unfair competition claims pursuant to Code of Civil
     16 Procedure § 1021.5, the substantial benefit doctrine and/or the common fund doctrine.
     17                                              PRAYER
     18         WHEREFORE, Plaintiff on behalfof herself and all others similarly situated, prays for
     19 judgment against Defendants as follows:
     20         A.      An order certifying that Plaintiffmay pursue her claims against Defendants as a
     21 slajs action on behalf of the Class Members;
     22         B.      An order appointing Plaintiff as Class representative and appointing Plaintiffs
     23 pounsel as class counsel;
     24         C.      Penalties for inaccurate wage statements under Labor Code §226(e);
     25         D.      Damages for unpaid wages under Labor Code §§201 or 202;
     26         E.      Damages for unpaid penalty wages under Labor Code §203;
     27         F.      Damages for unpaid wages for missed meal periods under Labor Code §226.7;
     28         G.      Damages for unpaid wages for missed rest periods under Labor Code §226.7;

                                                      16
                                           CLASS ACTION COMPLAINT
     Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 41 of 89 Page ID #:41
£•




       1       H.    Damages for minimum wages;
       2       I.    Damages for premium wages;
       3       J.    Liquidated damages for unpaid minimum wages;
       4       K.    Damages for unpaid overtime wages under Labor Code § 1194;
       5       L.    Restitution under Business and Professions Code §17203;
       6       M.    Pre-judgment interest;
       7       N.    Costs;
       8       o.    Reasonable attorney's fees; and
       9       P.    Such other and further relief as the Court deems just and proper.
      10
      11 DATED: December 22,2017                         NOURMAM) LAW FIRM, APC
      12
      13                                      By:
                                                    Michael Nourmand, Esq.
      14                                            James A. De Sario, Esq.
                                                    Attorneys for Plaintiffs
      15
      16
      17
      18
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      21
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      28

                                                  17
                                       CLASS ACTION COMPLAINT
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 42 of 89 Page ID #:42




                              EXHIBIT B
                                                                             •
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 43 of 89 Page ID #:43



     1
                                                                    S ri r Court
                                                                    6eo
                                                                                 FILED'
     2                                                                unto Ullicl :s6fACjn.g
                                                                                          aleife
                                                                                              levsnia
     3                                                                        JAN 1 0 2018
     4                                                              Sherri R. Lane' 1,:xecCitive Officer/Clerk
                                                                     By er......„
                                                                                  Ism.,  46,
                                                                                                     Deputy
     5
     6
     7                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
     8                                      COUNTY OF LOS ANGELES
     9                                          CENTRAL DISTRICT
    10                                                        Case No. BC688239
    11                                                        INITIAL STATUS CONFERENCE ORDER
       VICTORIA E. LUCAS, et al.,
    12           Plaintiff,                                   (COMPLEX LITIGATION PROGRAM)
            vs.
    13                                                        Case Assigned for All Purposes to
         MICHAEL KORS (USA), INC., et al.,                    Judge Kenneth R. Freeman
    14
                       Defendants.                            Department: 310
    15                                                        Date:      March 16, 2018
                                                              Time:       10:00 a.m..
    16
                 This case has been assigned for all purposes to Judge Kenneth R. Freeman in the Complex
    17
    18 Litigation Program. An Initial Status Conference is set for March 16, 2018 at 10:00 a.m., in
    19 Department 310 located in the Central Civil West Courthouse at 600 South Commonwealth
    20 Avenue, Los Angeles, California 90005. Counsel for all the parties are ordered to attend.
    21
                The Court orders counsel to prepare for the Initial Status Conference by identifying and
    22
         discussing the central legal and factual issues in the case. Counsel for plaintiff is ordered to
    23
         initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
    24
    25 agree, as possible, on a case management plan. To this end, counsel must file a Joint Initial Status
    26 Conference Class Action Response Statement ten (10) court days (March 2, 2018 and provide a
    27 conformed courtesy copy DIRECTLY in Department 310) before the Initial Status Conference.
    28

                                         INITIAL STATUS CONFERENCE ORDER
                              •                                           •
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 44 of 89 Page ID #:44



         The Joint Response Statement must be filed on line-numbered pleading paper and must
     1
     2 specifically answer each of the below-numbered questions. Do not the use the Judicial Council
     3 Form CM-110 (Case Management Statement) for this purpose.
     4           1. PARTIES AND COUNSEL: Please list all presently-named class representatives and
     5 presently-named defendants,
                                   together with all counsel of record, including counsel's contact and
     6
         email information.
     7
                 2. POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add
     8
         more class representatives? If so, and if known, by what date and by what name? Does any
     9
    10 plaintiff presently intend to name more defendants? If so, and if known, by what date and by
    11 what name? Does any appearing defendant presently intend to file a cross-complaint? If so, who
    12 will be named.
    13
                 3. IMPROPERLY NAMED DEFENDANT(S): If the complaint names the wrong
    14
         person or entity, please explain.
    15
                4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party
    16
    17 believes one or more named plaintiffs might not be an adequate class representative, please
    18 explain. No prejudice will attach to these responses.
    19          5. ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.
    20          6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list
    21
         other cases with overlapping class definitions. Please identify the court, the short caption title, the
    22
         docket number, and the case status.
    23
                7. POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION
    24
    25 WAIVER CLAUSES: Please include a sample of any clause of this sort. Opposing parties must
    26 summarize their views on this issue.
    27          8. POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and
    28
                                                          -2-
                                         INITIAL STATUS CONFERENCE ORDER
                              •                                          •
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 45 of 89 Page ID #:45



         describe the significant core issues in the case. Counsel then are to identify efficient ways to
     1
     2 resolve those issues. The vehicles include:
     3       •   Early motions in limine,

     4       •   Early motions about particular jury instructions,
     5       •   Demurrers,
     6
             • Motions to strike,
     7
             •   Motions for judgment on the pleadings, and
     8
             •   Motions for summary judgment and summary adjudication.
     9
    10           9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information

    11 from the defendant's records? If so, do the parties consent to an "opt-out" notice process (as
    12 approved in Belaire-West Landscape, Inc. v. Superior Court (2007) 149 Cal.App.4th 554, 561) to
    13
         precede defense delivery of this information to plaintiffs counsel? If the parties agree on the
    14
         notice process, who should pay for it? Should there be a third-party administrator?
    15
                 10. PROTECTIVE ORDERS: Parties considering an order to protect confidential
    16
    17 information from general disclosure should begin with the model protective orders found on the
    18 Los Angeles Superior Court Website under "Civil Tools for Litigators."
    19           11. DISCOVERY: Please discuss discovery. Do the parties agree on a plan? If not, can
    20 the parties negotiate a compromise? At minimum, please summarize each side's views
                                                                                          on
    21
         discovery. The Court generally allows discovery on matters relevant to class certification, which.
    22
         (depending on circumstances) may include factual issues also touching the merits. The Court
    23
         generally does not permit extensive or expensive discovery relevant only to the merits (for
    24
    25 example, detailed damages discovery) unless a persuasive showing establishes early need. If any
    26 party seeks discovery from absent class members, please estimate how many, and also state the
    27
    28
                                                          -3-
                                        INITIAL STATUS CONFERENCE ORDER
                                   •                                          •
     Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 46 of 89 Page ID #:46



              kind of discovery you propose.
          1
          2           12. INSURANCE COVERAGE: Please state if there is insurance for indemnity or

          3 reimbursement.
          4           13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each
          5
              party's position about it. If pertinent, how can the Court help identify the correct neutral and
          6
              prepare the case for a successful settlement negotiation?
          7
                      14. TIMELINE FOR CASE MANAGEMENT: Please recommend dates and times for
          8
              the following:
          9
         10       ■ The next status conference,

         11       ■ A schedule for alternative dispute resolution, if it is relevant,

         12       ■ A filing deadline for the motion for class certification, and
         13
                  ■ Filing deadlines and descriptions for other anticipated non-discovery motions.
         14
                      15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program
         15
              requires the parties in every new case to use a third-party cloud service. While the parties are free
         16
         17 to choose one of the services shown below, this Court (Department 310) prefers that the parties
         18 select:
         19       ■ Case Anywhere (http://www.caseanywhere.com).
         20       The parties are not required to select Case Anywhere, but may chose instead either
         21
                  ■ File & Serve Xpress (https://secure.fileandservexpress.com) or
         22
                  ■ CaseHomePage (http://www.casehomepage.com).
         23
                      Please agree on one and submit the parties' choice when filing the Joint Initial Status
         24
         25 Conference Class Action Response Statement. If there is agreement, please identify the vendor. If
CO       26
         27        See California Rule of Court, Rule 3.768.
         28
                                                               -4-
                                             INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 47 of 89 Page ID #:47



         parties cannot agree, the Court will select the vendor at the Initial Status Conference. Electronic
     1
     2 service is not the same as electronic filing. Only traditional methods of filing by physical delivery
     3 of original papers or by fax filing are presently acceptable.
     4             Reminder When Seeking To Dismiss Or To Obtain Settlement Approval:
     5
                   "A dismissal of an entire class action, or of any party or cause of action in a class action,
     6
         requires Court approval . . . Requests for dismissal must be accompanied by a declaration setting
     7
         forth the facts on which the party relies. The declaration must clearly state whether consideration,
     8
         direct or indirect, is being given for the dismissal and must describe the consideration in detail."2
     9
    10 If the parties have settled the class action, that too will require judicial approval based on a noticed
    11 motion (although it may be possible to shorten time by consent for good cause shown).
    12             Pending further order of this Court, and except as otherwise provided in this Initial Status
    13
         Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the
    14
         filing of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the
    15
         Court. However, any defendant may file a Notice of Appearance for purposes of identification of
    16
    17 counsel and preparation of a service list. The filing of such a Notice of Appearance shall be
    18 without prejudice to any challenge to the jurisdiction of the Court, substantive or procedural
    19 challenges to the Complaint, without prejudice to any affirmative defense, and without prejudice
    20 to the filing of any cross-complaint in this action. This stay is issued to assist the Court and the
    21
         parties in managing this "complex" case through the development of an orderly schedule for
    22
         briefing and hearings on procedural and substantive challenges to the complaint and other issues
    23
         that may assist in the orderly management of these cases. This stay shall not preclude the parties
    24
    25 from informally exchanging documents that may assist in their initial evaluation of the issues
    26
    27       2
                 California Rule of Court, Rule 3.770(a)
    28
                                                            -5-
                                           INITIAL STATUS CONFERENCE ORDER
                                  •                                           •
     Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 48 of 89 Page ID #:48



              presented in this case, however shall stay all outstanding discovery requests.
          1
          2          Plaintiff's counsel is directed to serve a copy of this Initial Status Conference Order on

          3 counsel for all parties, or if counsel has not been identified, on all parties, within five (5) days of
          4 service of this order. If any defendant has not been served in this action, service is to be completed
          5
              within twenty (20) days of the date of this order.
          6
                     Dated: January 10, 2018
          7
          8
          9
                                                              Judg     enneth R. Freeman
         10
         11
         12
         13
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CO       26
         27
         28
                                                               -6-
                                             INITIAL STATUS CONFERENCE ORDER
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 49 of 89 Page ID #:49




                              EXHIBIT C
Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 50 of 89 Page ID #:50

    CT Corporation                                                            Service of Process
                                                                              Transmittal
                                                                              01/29/2018
                                                                              CT Log Number 532703878
     TO:       Krista McDonough, Senior Vice President, General Counsel
               Michael Kors
               11 West 42nd Street, 29th Floor
               New York, NY 10036


     RE:       Process Served in California

     FOR:      MICHAEL KORS (USA), INC. (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


     TITLE OF ACTION:                   VICTORIA E. LUCAS, on behalf of herself and all others similarly situated,
                                        Pltf. vs. MICHAEL KORS (USA), INC., etc., et al., Dfts.
     DOCUMENT(S) SERVED:                Summons, Notice, Complaint, Attachment(s)
     COURT/AGENCY:                      Los Angeles County - Superior Court, CA
                                        Case /t BC688239
    ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:           By Process Server on 01/29/2018 at 16:09
    JURISDICTION SERVED :               California
    APPEARANCE OR ANSWER DUE:           Within 30 Calendar days after this summons and legal papers are served on you
    ATTORNEY(S) I SENDER(S):            Michael Nourmand
                                        TILE NOURMAND. LAW FIRM, APC
                                        8822 West Olympic Boulevard
                                        Beverly Hills, CA 90211
                                        310-553-3600
    ACTION ITEMS:                       SOP Papers with Transmittal, via UPS Next Day Air , 12X212780113903806

                                        Email Notification, Krista McDonough krista.mcdonough@michaelkors.com


    SIGNED:                             C T Corporation System
    ADDRESS:                            818 West Seventh Street
                                        Los Angeles, CA 90017
    TELEPHONE:                          213-337-4615




                                                                             Page 1 of 1 / KK
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.
          Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 51 of 89 Page ID #:51
                                                                                                                                                     SUM-100
                                            SUMMONS
                                                                                                                             FOR COURT USE ONLY
                                    (CITACION JUDICIAL)                                                                  (SOLO PARA USO DE LA CORTE)

NOTICE TO DEFENDANT: MICHAEL KORS (USA) , INC. , a
(AV/SO AL DEMANDADO): Delaware corporation; DECTON
INC . , a California corporation; DECTON STAFFING
SERVICES, a business entity form unknown; and DOES 1                                                                  CONFONIVIN CIOPY
through 100, Inclusive                                                                                                               Fl;-150
                                                                                                                     Superior Court of Cellfornla
                                                                                                                       County of Los Angeles

                                                                                                                            DEC 2 6 2017
YOU ARE BEING SUED BY PLAINTIFF: VICTORIA E. LUCAS, on
                                                                                                               Shari R. Ca let, GA1:            OffiCeliCferi(
(LO ESTA DEMANDANDO EL DEMANDANTE): behalf of herlself
 and all others similarly situated                                                                                                                     Deputy
                                                                                                                              AToses Soto

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (wtmcourfinfo.ca.govisellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attomey, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomie.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISOI Lo han demanded°. Si no respondo denim do 30 dlas, la code puede docidir en su contra sin escucher su versiOn. Lea la informaciOn a
 continuacion
   Tiene 30 DIAS DE CALENDARIO despues de quo le entreguen este citaci6n y papeles legatos pare presenter una rospuosta por escrito en este
 cone y hater quo se entregue una copia al demandante. Una carte o una Hamada teletonica no to protegen. Su rospuosta por escrito (lone que ester
 en formato legal correcto si dosoa que procesen su caso en la code. Es posiblo quo hays un formulario quo usted pueda user pare su rospuosta.
 Puede encontrar ostos formularios de la cone y mss informacion en of Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en le
 biblioteca de leyes de su condado o en la cone quo to quede mss coma. Si no puede pager la cuota de prosentocion, pida al secrotario de la cone
 que le de un formulario de exenci6n de pago de cuotas. SI no presents su respuesta a tiompo, puede perder el caso por incumplimiento y la code to
 podra guitar su sueldo, dinero y bienes sin Inas advertencia.
   Hay otros requisitos legates. Es recomendable que llama a un abogado inmedIatamente. SI no conoce a un abogado, puede Ilamar a un servicio do
 remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos gropes sin fines de lucro en el sitio web do California Legal Services,
 (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.c.a.gov) o poniandose en contacto con la code o el
 cofegio do abogados locales. AVISO: Por ley, la code tione dorocho a reclamar las cuotas y los costos oxentos por imponer un gravamen sobre
 cualquier recuperacion de $10,000 6 mbs de valor recibida medianto un acuordo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pager el gravamen de /a code antes de que la code puede desecharol caso.
   e name an. a • Gress o           e cou                                                                CASE NUMBER:
(El nombre y direcciOn de la conic) es):                                                                 (Namara del Caso):
                                                                                                                                 BC688239
Superior Court of the State of California
111 North Hill Street

Los Angeles, California 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direction y el nUmero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Michael Nourmand, Esq. (SBN 198439)                                                               (310)        553-3600
James A. De Sario, Esq. (SBN 262552)
THE NOURMAND LAW FIRM, APC
Beverly Hills, California 90211
 DATE:                                                              Clerk, by                                                                        , Deputy
                                         EP.RIR. CARTER                                         M. SGtO
(Fecha)         DEC 2 6 20 11                                       (Secretario)                                                                       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
 (SEAL]                                1.        as an individual defendant.
                                       1.        as the person sued under the fictitious name of (specify):

                                                 on behalf of (specify):    OA t                          (    tik
                                                                                                                     h
                                                                                                                                     ,1 C . )    rA

                                                                                   t F             0,6•r)1)3
                                            under:      CCP 416.10 (corp ration)                                      CCP 416.60 (minor)
                                                         CCP 416.20 (defunct corporation)                             CCP 416.70 (conservatee)
                                                   L     CCP 416.40 (association or partnership)                      CCP 416.90 (authorized person)
                                                    f other (specify):
                                       4. 1    l by personal delivery on (date):                                                                         Pao 1 of 1
                                                                                                                                  CodoofCMIPmcodum5§412.20,455
 Form Adopted for Mandatory Uft0                                    SUMMONS
   Judicial Council of California
   SUM-100 (Rev. July 1, 2009)
          Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 52 of 89 Page ID #:52
                                SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                   NOTICE OF CASE ASSIGNMENT — CLASS ACTION CASES

                                            Case Number                                                                               BC 6 8 8 2 3 9
                                THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                             Your case is assigned for all purposes to the judicial officer indicated below (Local Rule 3.3 (c)).
                                                    ASSIGNED JUDGE                                    DEPT.          ROOM
                                               Judge Elihu M. Berle                                    323            1707
                                               Judge William F. Highberger                               322           1702
                                               Judge John Shepard Wiley, Jr.                             311           1408
                                         ✓     Judge Kenneth Freeman                                     310           1412
                                               Judge Ann Jones                                           308           1415
                                               Judge Maren E. Nelson                                     307           1402
                                               Judge Carolyn B. Kuhl                                     309            1409

                                           Instructions for handling Class Action Civil Cases
The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION
The Chapter Three Rules were effective January 1, 1994. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure section 170.6 must be made within 15-days after notice of assignment for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standards:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer
is filed. Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing
date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement";vial
date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions in limine, bifurcation motions, statements of major evidentiary issues, diapositive motions, requested jury instructions, and
special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before
this conference, counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of
the case to be read to the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court,
and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if
appropriate on counsel for the party.

This is not a complete delineation of the Chapter Three Rules, and adherence only to the above provisions is therefore not a guarantee against the imposition
of sanctions under Trial Court Delay Reduction. Careful reading and compliance with the actual Chapter Rules is absolutely imperative.

Given to the Plaintiff/Cross Complainant/Attomey of Record on                              SHERRI R. CARTER, Executive Officer/Clerk



                                                                                          BY                                             , Deputy Clerk

     LACIV CCW 190 (Rev. 04/16)
     LASC Approved 05-06
      Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 53 of 89 Page ID #:53




                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
        A CR A
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

  -          Y-inrIgi.            The    following    organizations   endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles
                               promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                                ♦Los Angeles County Bar Association Litigation Section♦
Southern California
Defense Counsel

                                             ♦ Los Angeles County Bar Association

 4.00.41.• 00 E.
               try. tanLA
                                             Labor and Employment Law Section♦
        a.
              tal MoGV.L.4

Association of
Business Trial Lawyers             ♦Consumer Attorneys Association of Los Angeles♦


                                         ♦Southern California Defense Counsel♦


                                        ♦Association of Business Trial Lawyers♦

California Employment
Lawyers Association
                                     ♦California Employment Lawyers Association♦


       LACIV 230 (NEW)
       LASC Approved 4-11
        Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 54 of 89 Page ID #:54



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY                 STATE BAR NUMBER            Reserved for Clerk's Fie Slarrp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:
            STIPULATION — EARLY ORGANIZATIONAL MEETING


       This stipulation is intended to encourage cooperation among the parties at an early stage in
       the litigation and to assist the parties in efficient case resolution.

       The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a Judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.    Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                   phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
        LACIV 229 (Rev 02115)
        LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
        For Optional Use                                                                                                    Page 1 of 2
   Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 55 of 89 Page ID #:55
SHORT TITLE.                                                                      CASE NUMBER




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourtorq under "Civil' and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                            for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.orq under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:

 Date:
                                                                 ➢
                  (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                 ➢
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:
                                                                 ➢
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:


                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
 Date:


                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
 Date:
                                                                 ➢
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
 Date:
                                                                 ➢
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


 LACIV 229 (Rev 02/15)
 LASC Approved 04/11           STIPULATION — EARLY ORGANIZATIONAL MEETING                                Page 2 of 2
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NAME AND ADDRESS OF ATTORNEY OR PARTY WrTHOUT ATTORNEY.                 STATE BAR NUMBER            Rasemsd kr Clerk', Flo Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                           CASE NUMBER:

                     STIPULATION — DISCOVERY RESOLUTION


       This stipulation is intended to provide a fast and informal resolution of discovery issues
       through limited paperwork and an informal conference with the Court to aid in the
       resolution of the issues.

       The parties agree that:

        1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
           the moving party first makes a written request for an Informal Discovery Conference pursuant
           to the terms of this stipulation.

        2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
           and determine whether it can be resolved informally. Nothing set forth herein will preclude a
           party from making a record at the conclusion of an Informal Discovery Conference, either
           orally or in writing.

        3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
           presented, a party may request an Informal Discovery Conference pursuant to the following
           procedures:

                    a. The party requesting the Informal Discovery Conference will:

                        i.      File a Request for Informal Discovery Conference with the clerk's office on the
                                approved form (copy attached) and deliver a courtesy, conformed copy to the
                                assigned department;

                       ii.      Include a brief summary of the dispute and specify the relief requested; and

                      iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                                that ensures that the opposing party receives the Request for Informal Discovery
                                Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                        i.      Also be filed on the approved form (copy attached);

                        ii.     Include a brief summary of why the requested relief should be denied;
         LACIV 036 (new)
         LASC Approved 04/11                     STIPULATION — DISCOVERY RESOLUTION
         For Optional Use                                                                                                Page 1 of 3
   Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 57 of 89 Page ID #:57

SHORT TITLE:                                                                   CASE t4U?.!3ER




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a "specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                               Page 2 of 3
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SHORT TITLE                                                    CASE NUMBER:




The following parties stipulate:

Date:

              (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:

              (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

              (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

              (TYPE OR PRINT NAME)                   (ATTORNEY FOR




LACIV 036 (new)
LASC Approved 04/11          STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                        Page 3 of 3
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NAME AND ADORESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY.                 STATE BAR NUMBER                         Reserved (se Oak's Fib Stsenp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER.
                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                  ❑          Request for Informal Discovery Conference
                  ❑          Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                          (Insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                 (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




     LACIV 094 (new)
     LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
     For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY,                 STATE BAR NUMBER          • Rinorwd for Ciotti, FT0 Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                           CASE NUMBER:

               STIPULATION AND ORDER — MOTIONS IN LIMINE



       This stipulation is intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

       2. The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning all proposed motions in limine. In that meet and confer, the
          parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.




        LACIV 075 (new)
        LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE.
        For Optional Use                                                                                                  Page 1 of 2
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SHORT TITLE.                                                  CASE NUMBal•




The following parties stipulate:

Date:


               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:


               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:


               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:


               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:


               (TYPE OR PRINT NAME)                  (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR



 THE COURT SO ORDERS.

   Date:
                                                               JUDICIAL OFFICER




 LACIV 075 (new)
 LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE                  Page 2 of 2
      Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 62 of 89 Page ID #:62




                          Superior Court of California
                                  County of Los Angeles
                                                       ,,,,,,




              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                      INFORMATION PACKET


               The person who files a civil lawsuit (plaintiff) must include the ADR information
               Packet with the complaint when serving the defendant. Cross-complainants must
               serve the ADR Information Packet on any new parties named to the action
               together with the cross-complaint.

               There are a number of ways to resolve civil disputes without having to sue
               someone. These alternatives to a lawsuit are known as alternative dispute
               resolution (ADR).

               In ADR, trained, impartial persons decide disputes or help parties decide disputes
               themselves. These persons are called neutrals. For example, in mediations, the
               neutral is the mediator. Neutrals normally are chosen by the disputing parties or by
               the court. Neutrals can help resolve disputes without having to go to court.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221
        Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 63 of 89 Page ID #:63




Advantages of ADR
   •    Often faster than going to trial
   •    Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
   •    May permit more participation, allowing parties to have more control over the outcome.
   •    Allows for flexibility in choice of ADR processes and resolution of the dispute.
   •    Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
        mutually agree to remedy.
   •    There are fewer, if any, court appearances. Because ADR can be faster and save money, it can reduce
        stress.

Disadvantages of ADR - ADR may not be suitable for every dispute.
    •   If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
        jury under formal rules of evidence and procedure, and review for legal error by an appellate court.
    •   ADR may not be effective if it takes place before the parties have sufficient information to resolve the
        dispute.
    •   The neutral may charge a fee for his or her services.
    •   If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional
        costs of trial, such as attorney's fees and expert fees.



The Most Common Types of ADR


    •   Mediation

        In mediation, a neutral (the mediator) assists the parties in reaching a mutually acceptable resolution
        of their dispute. Unlike lawsuits or some other types of ADR, the parties, rather than the mediator,
        decide how the dispute is to be resolved.

            ■ Mediation is particularly effective when the parties have a continuing relationship, like
              neighbors or business people. Mediation is also very effective where personal feelings are
              getting in the way of a resolution. This is because mediation normally gives the parties a chance
              to express their feelings and find out how the other sees things.

            ▪     Mediation may not be effective when one party Is unwilling to cooperate or Lump' utilise or
                  when one of the parties has a significant advantage in power over the other. Therefore, it may
                  not be a good choice if the parties have a history of abuse or victimization.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                      Page 2 of 4
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            ■ Arbitration

                In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from each
                side and then decides the outcome of the dispute. Arbitration is typically less formal than a
                trial, and the rules of evidence may be relaxed. Arbitration may be either "binding" or "non-
                binding." Binding arbitration means the parties waive their right to a trial and agree to accept
                the arbitrator's decision as final. Non-binding arbitration means that the parties are free to
                request a trial if they reject the arbitrator's decision.

                Arbitration is best for cases where the parties want another person to decide the outcome of
                their dispute for them but would like to avoid the formality, time, and expense of a trial. It may
                also be appropriate for complex matters where the parties want a decision-maker who has
                training or experience in the subject matter of the dispute.



            ■   Mandatory Settlement Conference (MSC)

                Settlement Conferences are appropriate in any case where settlement is an option.
                Mandatory Settlement Conferences are ordered by the Court and are often held near the date
                a case is set for trial. The parties and their attorneys meet with a judge who devotes his or her
                time exclusively to preside over the MSC. The judge does not make a decision in the case but
                assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a
                settlement.

                The Los Angeles Superior Court Mandatory Settlement Conference (MSC) program is free of
                charge and staffed by experienced sitting civil judges who devote their time exclusively to
                presiding over MSCs. The judges participating in the judicial MSC program and their locations
                are identified in the List of Settlement Officers found on the Los Angeles Superior Court website
                at http://www.Iacourt.org/. This program is available in general jurisdiction cases with
                represented parties from independent calendar (IC) and Central Civil West (CCW) courtrooms.
                In addition, on an ad hoc basis, personal injury cases may be referred to the program on the
                eve of trial by the personal injury master calendar courts in the Stanley Mosk Courthouse or the
                asbestos calendar court in CCW.

                In order to access the Los Angeles Superior Court MSC Program the judge in the IC courtroom,
                the CCW Courtroom or the personal injury master calendar courtroom must refer the parties to
                the program. Further, all parties must complete the information requested in the Settlement
                Conference Intake Form and email the completed form to mscdept18@lacourt.org.




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

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Additional Information


To locate a dispute resolution program or neutral in your community:


   •   Contact the California Department of Consumer Affairs (www.dca.ca.gov) Consumer Information
       Center toll free at 800-952-5210, or;
   •   Contact the local bar association (http://www.lacba.org/) or;
   •   Look in a telephone directory or search online for "mediators; or "arbitrators."


There may be a charge for services provided by private arbitrators and mediators.



A list of approved State Bar Approved Mandatory Fee Arbitration programs is available at
http://calbar.ca.gov/Attorneys/MemberServices/FeeArbitration/ApprovedPrograms.aspx#19



To request information about, or assistance with, dispute resolution, call the number listed below. Or you may
call a Contract Provider agency directly. A list of current Contract Provider agencies in Los Angeles County is
available at the link below.

http://css.lacounty.gov/programs/dispute-resolution-program-drp/




                                  County of Los Angeles Dispute Resolution Program
                                          3175 West 6th Street, Room 406
                                             Los Angeles, CA 90020-1798
                                                 TEL: (213) 738-2621
                                                 FAX: (213) 386-3995




LAADR 005 (Rev. 03/17)
LASC Adopted 10-03
Cal. Rules of Court, rule 3.221

                                                      Page 4 of 4
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   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
—MiChael  Nourmand, Esq. (SBN 198439)
  James A. De Sario, Esq. (SBN 262552)
  THE NOURMAND LAW FIRM, APC
  8822 West Olympic Boulevard                                                                                            CONFOSIVIED COPY
  Beverly Hills, California 90211                                                                                          ORIGMAL FILED
          TELEPHONE NO.:           (   3 10 )   55 3 — 3 60 0   FAX NO.:
                                                                                                                        Superior Court of California
                                                                                                                          County of Los Anoeles
  ATTORNEY FOR (Name)•         Plaintiff
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS Angeles
     STREET ADDRESS: 111 North Hill Street
                                                                                                                                   DEC 2 6 2017
       MAILING ADDRESS:
                                                                                                                   '. 11617i   R. ;;dtti, L;At.t,.       oincer/Cierk
      crryA.NozipcooE:Los Angeles, California 90012
           BRANCH NAME:    Central District                                                                       Ey: .                                        , Ospuiy
  CASE NAME:              Lucas v. Michael Kors (USA) , Inc., et al.                                                                Moses Soto

                                                     Complex Case Designation               CASE NUMBER:
      CIVIL CASE COVER SHEET
 I X 1Unlimited           Limited                       Counter        I  I Joinder                                                      BC 6 8 8 2 3 9
       (Amount            (Amount                Filed with first appearance by defendant  JUDGE:
       demanded           demanded is
       exceeds $25,000) $25,000 or less)             (Cal. Rules of Court, rule 3.402)      DEPT:

                                  Items 1-6 below must be completed (see instructions on page 2).
1.   Check one box below for the case type that best describes this case:
     Auto Tort                                                  Contract                                        Provisionally Complex Civil Litigation
          Auto (22)                                                  Breach of contractlwarranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
          Uninsured motorist (46)                                     Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                        Other collections (09)                            Construction defect (10)
     Damage/Wrongful Death) Tort
                                                                     Insurance coverage (18)                           Mass tort (40)
          Asbestos (04)                                              Other contract (37)                               Securities litigation (28)
          Product liability (24)                                Real Property                                          EnvironmentaUToxic tort (30)
          Medical malpractice (45)                                   Eminent domain/Inverse                            Insurance coverage claims arising from the
          Other PUPDNVD (23)                                         condemnation (14)                                 above listed provisionally complex case
     Non-PI/PD/WD (Other) Tort                                        Wrongful eviction (33)                           types (41)
            Business tort/unfair business practice (07)               Other real property (26)                  Enforcement of Judgment
            Civil rights (08)                                   Unlawful Detainer                                   Enforcement of judgment (20)
            Defamation (13)                                           Commercial (31)                          Miscellaneous Civil Complaint
            Fraud (16)                                                Residential (32)                                 RICO (27)
            Intellectual property (19)                                Drugs (38)                                       Other complaint (not specified above) (42)
            Professional negligence (25)                        Judicial Review                                 Miscellaneous Civil Petition
         Other non-PUPDAND tort (35)                                  Asset forfeiture (05)                            Partnership and corporate governance (21)
     Employment                                                      Petition re: arbitration award (11)               Other petition (not specified above) (43)
         Wrongful termination (36)                                   Writ of mandate (02)
            Other employment (15)                                    Other judicial review (39)
2. This case [ x is                is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties     d. X Large number of witnesses
   b. X Extensive motion practice raising difficult or novel e.          Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve               in other counties, states, or countries, or in a federal court
   c. X Substantial amount of documentary evidence              f.       Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. [ xj monetary b. X nonmonetary; declaratory or injunctive relief c.                 punitive

4. Number of causes of action (specify): 7
5. This case   x is            is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. You may,use form CM-015.)
Date: December 2 2 , 2017
Michael Nourmand, Esq. ISBN 1984 3 9 )
                                       (TYPE OR PRINT NAME)                                                (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                      NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Cburt, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  . If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
  • • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes, only.                             Page 1 of 2
                                                                                                                        Cal. Rules of Court, rules 2.30. 1220, 3.4003.403, 3.740;
Farm Adopted for Mandatory Use                                    CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration. std. 3.10
  Judicial Council of California                                                                             ludons-
   CM-010 (Ray. July 1, 2007)                                                                                ItPlus
         Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 67 of 89 Page ID #:67
                                 INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                        CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule /3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
        DamageNVrongful Death                          Breach of Rental/Lease                            Antitrust/Trade Regulation (03)
   Uninsured Motorist (46) (if the                        Contract (not unlawful detainer                Construction Defect (10)
        case involves an uninsured                            or wrongful eviction)
                                                                                                         Claims Involving Mass Tort (40)
        motorist claim subject to                      ContractNVarranty Breach—Seller
                                                          Plaintiff (not fraud or negligence)            Securities Litigation (28)
        arbitration, chock this item                                                                     Environmental/Toxic Tort (30)
                                                       Negligent Breach of Contract/
        instead of Auto)                                                                                 Insurance Coverage Claims
                                                          Warranty
Other PI/PD/WD (Personal Injury/                       Other Breach of Contract/Warranty                     (arising from provisionally complex
Property Damage/Wrongful Death)                    Collections (e.g., money owed, open                       case type listed above) (41)
Tort                                                   book accounts) (09) •
   Asbestos (04)                                                                                    Enforcement of Judgment
                                                       Collection Case Seller Plaintiff
        Asbestos Property Damage                                                                         Enforcement of Judgment (20)
                                                       Other Promissory Note/Collections
        Asbestos Personal Injury/                             Case                                           Abstract of Judgment (Out of
             Wrongful Death                        Insurance Coverage (not provisionally                         County)
   Product Liability (not asbestos or                  complex) (18)                                         Confession of Judgment (non-
        toxic/environmental) (24)                      Auto Subrogation                                         domestic relations)
   Medical Malpractice (45)                            Other Coverage                                        Sister State Judgment
        Medical Malpractice-                       Other Contract (37)                                       Administrative Agency Award
             Physicians & Surgeons                     Contractual Fraud                                        (not unpaid taxes)
        Other Professional Health Care                 Other Contract Dispute                                Petition/Certification of Entry of
             Malpractice                         Real Property                                                  Judgment on Unpaid Taxes
   Other PI/PD/WD (23)                             Eminent Domain/Inverse                                    Other Enforcement of Judgment
        Premises Liability (e.g., slip                 Condemnation (14)                                        Case
             and fall)                             Wrongful Eviction (33)                           Miscellaneous Civil Complaint
                                                   Other Real Property (e.g., quiet title) (26)          RICO (27)
        Intentional Bodily Injury/PD/WD
                                                       Writ of Possession of Real Property               Other Complaint (not specified
             (e.g., assault, vandalism)
                                                       Mortgage Foreclosure                                 above) (42)
        Intentional Infliction of                      Quiet Title
             Emotional Distress                                                                             Declaratory Relief Only
                                                       Other Real Property (not eminent
        Negligent Infliction of                                                                             Injunctive Relief Only (non-
                                                       domain, landlord/tenant, or
             Emotional Distress                                                                                 harassment)
                                                      foreclosure)
        Other Pl/PD/VVD                                                                                     Mechanics Lien
                                                 Unlawful Detainer
                                                                                                            Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                          Commercial (31)
   Business Tort/Unfair Business                                                                                Case (non-tort/non-complex)
                                                   Residential (32)
                                                                                                            Other Civil Complaint
        Practice (07)                              Drugs (38) (if the case involves illegal
                                                                                                                (non-tort/non-complex)
   Civil Rights (e.g., discrimination,                 drugs, chock this item; otherwise,
        false arrest) (not civil                                                                    Miscellaneous Civil Petition
                                                       report as Commercial or Residential)
        harassment) (08)                                                                                 Partnership and Corporate
                                                 Judicial Review
   Defamation (e.g., slander, libel)                                                                        Governance (21)
                                                    Asset Forfeiture (05)
                                                                                                         Other Petition (not specified
        (13)                                        Petition Re: Arbitration Award (11)
                                                                                                            above) (43)
   Fraud (16)                                       Writ of Mandate (02)
                                                                                                             Civil Harassment
   Intellectual Property (19)                          Writ-Administrative Mandamus
                                                                                                             Workplace Violence
   Professional Negligence (25)                        Writ-Mandamus on Limited Court
                                                                                                             Elder/Dependent Adult
        Legal Malpractice                                  Case Matter
                                                                                                                Abuse
        Other Professional Malpractice                 Writ-Other Limited Court Case
                                                                                                             Election Contest
             (not medical or legal)                        Review
                                                                                                             Petition for Name Change
   Other Non-PI/PD/WD Tort (35)                     Other Judicial Review (39)
                                                                                                             Petition for Relief from Late
Employment                                             Review of Health Officer Order
                                                                                                                Claim
   Wrongful Termination (36)                           Notice of Appeal-Labor
                                                                                                             Other Civil Petition
   Other Employment (15)                                   Commissioner Appeals
                                                                                                                                             Pago 2 of 2
CM-010 [Roy. July 1, 20071                              CIVIL CASE COVER SHEET
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                              EXHIBIT D
       Case 2:18-cv-01608-MWF-MRW Document 1 Filed 02/27/18 Page 69 ofFOR
 ATTORNEY On PARTY WITHOUT ATTORNEY (Name, State
                                                                       89COURT
                                                                            Page     ID POS-01
                                                                               USE ONLY
                                                                                        #:69
                                        ;      ber, and address)                                   •
_ Michael Nourmand, Esq                                                         SBN: Bar No. 198439
  The Nourmand Law Firm, APC
  8822 West Olympic Boulevard Beverly Hills, CA 90211                                                                         FILED
           TELEPHONE NO.: (310)
                              553-3600               FAX NO.(Oprional):         (310) 553-3603.                   Superior Court of California
 E-MAIL ADDRESS (Optional):
                        mnourmand@nourmandlawfirm.com                                                               County of Los Atweles
    ATTORNEY FOR (Name): Plaintiff:

 LOS ANGELES COUNTY SUPERIOR COURT - CENTRAL DISTRICT                                                                       FEB 0..8 2018
          STREET ADDRESS:     111 NORTH HILL ST.                                                        Sherri R. Carter, Exec five Officer/Clerk
         MAILING ADDRESS:         .
                                                                                                             By                 01.-           A.", . Deputy
         CITY AND ZIP CODE: LOS ANGELES, CA 90012 .                                                                       Mar;rt Acv.,
            BRANCH NAME: CENTRAL

         PLAINTIFF/PETITIONER: Victoria E. Lucas                                                            CASE NUMBER:

                                                                                                                                    BC 688 239
   DEFENDANT/RESPONDENT: Michael Kors (USA) , Inc., a Delaware corporation, et. al.

                                                                                                            Ref. No. or File No.:
                                      PROOF OF SERVICE OF SUMMONS

                                           (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

    a.    summons
    b.    complaint
    c.    Alternative Dispute Resolution (ADR) package
    d.    Civil Case Cover Sheet (served in complex cases only)
    e.    cross-complaint
          other (specify documents): Civil Case Cover Sheet; Notice of Case Assignment - Class Action Cases;
                                       Voluntary Efficient Litigation Stipulations Packet
3. a. Party served (specify name of party as shown on documents served):
   Michael Kors (USA) , Inc., a Delaware corporation

    b.EA Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and
          not a person under item 5b on whom substituted service was made) (specify name and relationship to the
          party named in item 3a):
       Daisy Montenegro (C.T. Corporation) - Agent for service of process
4. Address where the party was served: 818 W. Seventh Street # 930
                                       Los Angeles, CA 90017
5. I served the party (check proper box)
   a. [A by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 1/2912018 (2) at (time): 11:15 AM
    b.El by substituted service. On (date): at (time): I left the documents listed in item 2 with or
         in the presence of (name and title or relationship to person indicated in item 3b):

                        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
                        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place. of
                        abode of the party. I informed him or her of the general nature of the papers.
                        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4) ❑ I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                   place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                   (date): from (city):                                                 or El a declaration of mailing is attached.
                        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                            Page 1 of 2
Form Approved for Mandatory Use                                                                                                        Code cf Civil Procedure, § 417.10
Jedicial Council of California                        PROOF OF SERVICE OF SUMMONS
F!0S-010 [Rev. January 1, 20071                                                                                                        'MS010-1/306923180007
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                                                      •   .


         PETITIONER: Victoria E. Lucas            •
                                                                                                            CASE NUMBER:
                                                                                                                         BC 688 239
      RESPONDENT: Michael Kors (USA) , Inc., a Delaware corporation, et. al.

    c.12 by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
         shown in item 4, by first-class mail, postage prepaid,
               (1) on (date):                                      (2) from (city):
         (3)0 with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
         (4)0 to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
    d. ❑ by other means (specify means of service and authorizing code section):


       I=1 Additional page describing service is attached.
6. The ' Notice to the Person Served" (on the summons) was completed as follows:

    a          as an individual defendant.
    b.         as the person sued under the fictitious name of (specify):
    c.         as occupant.
    d.         On behalf of (specify): Michael Kors (USA) , Inc., a Delaware corporation
               under the following Code of Civil Procedure section:
                                 416.10 (corporation)                          415.95 (business organization, form unknown)
                            0    416.20 (defunct corporation)                  416.60 (minor)
                                 416.30 (joint stock company/association)      416.70 (ward or conservatee)
                                 416.40 (association or. partnership)          416.90 (authorized person)
                                 416.50 (public entity)                        415.46 (occupant)
                                                                               other:
7. Person who served papers
   a. Name: Victor Mendez - All-N-One Legal Support, Inc.
   b. Address: 1545 Wilshire Blvd, Suite 715 Los Angeles, CA 90017
   c. Telephone number: (213) 202-3990
   d. The fee for service was: $ 48.50
   e. I am:

         (1)       not a registered California process server.
         (2)       exempt from registration under Business and Professions Code section 22350(b).
         (3)       rej!tered California process server:
                 (i)LI owner               El   employee            al
                                                                    independent contractor.
                 (ii) Registration No.: 3428
                 (iii)County: Los Angeles

8.EA      I declare under penalty of perjury under the laws. of the State of California that the foregoing is true and correct.
          or
9.CI I am a California sheriff or marshal and I certify that the foregoing is true and correct.

               Date: 2/6/2018

               All-N-One Legal. Support, Inc.
               1545 Wilshire Blvd, Suite 715
               Los Angeles, •CA 90017
               (213) 202-3990




                                 Victor Mendez
                  (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




FibS-010 (Rev January 1, 2007]                                                                                                          Page 2 of 2
                                                      PROOF OF SERVICE OF SUMMONS
                                                                                                                           POSs010/306923180007
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                              EXHIBIT E
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  SEYFARTH SHAW LLP
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  Los Angeles, California 90067-3021                                      FEB 2 6 2018
  Telephone: (310) 277-7200
  Facsimile:    (310) 201-5219                                  Sherri R. Carter, Executive Officer/Clerk
                                                                 By STEVEN DR Ektieputy
  Attorneys for Defendant
  MICHAEL KORS (USA), INC.




                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                       COUNTY OF LOS ANGELES


  VICTORIA E. LUCAS, on behalf of herself and        Case No. BC688239
  all others similarly situated,
                                                           HON. KENNETH R. FREEMAN
                     Plaintiff,
                                                     DEFENDANT MICHAEL KORS (USA),
           v.                                        INC.'S ANSWER TO PLAINTIFF'S
                                                     UNVERIFIED FIRST AMENDED
  MICHAEL KORS (USA), INC., a Delaware               COMPLAINT
  corporation; DECTON INC., a California
  corporation; DECTON STAFFING SERVICES, a
  business entity form unknown; and DOES 1
  through 50, inclusive,
                                                                      ci FA
                     Defendants.




                DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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 1                                                       ANSWER

 2               Defendant MICHAEL KORS (USA), INC. ("Defendant") hereby submits its answer to the

 3     Unverified Complaint ("Complaint") filed by Plaintiff VICTORIA E. LUCAS ("Plaintiff"), as follows:

 4                                                 GENERAL DENIAL

 5               Pursuant to the provisions of California Code of Civil Procedure section 431.30(d), Defendant

 6     denies generally each and every allegation, statement, matter and each purported cause of action in

 7     Plaintiff's Complaint, and without limiting the generality of the foregoing, denies that Plaintiff has been

 8     damaged in the manner or sums alleged, or in any way at all, by reason of any acts or omissions of

 9     Defendant.

10                             SEPARATE AFFIRMATIVE AND OTHER DEFENSES

11               In further answer to Plaintiff's Complaint, and as separate and distinct defenses, Defendant

12     alleges the following defenses. In asserting these defenses, Defendant does not assume the burden of

13     proof as to matters that, pursuant to law, are Plaintiff's burden to prove. Defendant does not presently

14     know all of the facts and circumstances respecting Plaintiff's claims. Defendant reserves the right to

15    amend this Answer should Defendant later discover facts demonstrating the existence of additional

16     defenses.

17                                                  FIRST DEFENSE

18       (Failure to State a Cause of Action Upon Which Relief May be Granted- All Causes of Action)

19     1. The Complaint, and each purported cause of action alleged therein, fails to state any cause of action

20     upon which relief can be granted.

21                                                SECOND DEFENSE

22         (Failure To State Facts Sufficient To Constitute Any Cause Of Action- All Causes of Action)

23    2. The Complaint, and each purported cause of action alleged therein, fails to state facts sufficient to

24    constitute any cause of action upon which relief can be granted.

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28
                                                             2
                     DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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 1                                                 THIRD DEFENSE

 2                                   (Statute of Limitations- All Causes of Action)

 3     3. Plaintiff's claims, in whole or in part, on behalf of herself and the putative class, are barred by the
 4     applicable statutes of limitations, including, but not limited to, Code of Civil Procedure §§ 312, 338(a),

 5     340, 343 and California Business and Professions Code § 17208.

 6                                                FOURTH DEFENSE

 7                                   (Estoppel and Waiver- All Causes of Action)

 8     4. Plaintiff's Complaint, and each and every cause of action alleged therein, is barred by the doctrines of

 9     estoppel and waiver.
10                                                  FIFTH DEFENSE

11                                           (Laches- All Causes of Action)

12     5. Plaintiff is barred by the doctrine of laches from pursuing her Complaint, and each purported cause of

13    action alleged therein, because Plaintiff exercised inexcusable delay in commencing this action.

14                                                 SIXTH DEFENSE

15                                      (Unclean Hands- All Causes of Action)

16    6. Defendant is informed and believes and thereon alleges that Plaintiff has engaged in conduct that bars

17    her claims, in whole or in part, by the doctrine of unclean hands.

18                                               SEVENTH DEFENSE

19                                      (Attorneys' Fees- All Causes of Action)

20    7. The Complaint fails to allege facts sufficient to establish a claim for attorneys' fees.

21                                                EIGHTH DEFENSE

22                                     (Constitutionality- All Causes of Action)

23    8. Neither Plaintiff nor any putative class member is not entitled to any penalty award under the

24    California Labor Code to the extent that the penalty provisions of the applicable Labor Code sections

25    establish penalties that are unjust, arbitrary, oppressive, confiscatory and are disproportionate to any

26    damage or loss incurred as a result of Defendant's conduct, and are unconstitutional under the California

27    Constitution and U.S. Constitution and Article I, Section VII, of the California Constitution.

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                                                            3
                    DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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 1                                                 NINTH DEFENSE

 2                           (No Double Penalties- Second and Third Causes of Action)
 3     9. Plaintiff's claims for penalties are barred to the extent that she claims twice the statutory penalty
 4     provided under Labor Code § 226.7 for alleged unprovoked meal or rest period in a single day.

 5                                                 TENTH DEFENSE

 6                            (Res JudicatalCollateral Estoppel - All Causes of Action)

 7     10.     Plaintiff's Complaint and each cause of action therein is barred by the doctrines of res judicata

 8     and/or collateral estoppel, to the extent that any plaintiff, putative class member or other putative
 9     beneficiary of this action has asserted in any prior legal or administrative proceeding that they were
10     entitled to payment for overtime, alleged failure to pay minimum wage and/or failure to pay wages upon

11     termination, meal periods, and/or rest breaks, failure to provide accurate wage statements and/or unfair
12     competition and did not prevail on such claim.

13                                              ELEVENTH DEFENSE

14                                          (Consent- All Causes of Action)

15     11.     To the extent Plaintiff and the putative class members chose to forego, delay or cut short their

16     meal and/or rest breaks that were provided by Defendant, their claims are barred.

17                                              TWELFTH DEFENSE

18                                        (Due Process- All Causes of Action)

19    12.      To the extent Plaintiff purports to seek relief on behalf of others who have suffered no damages

20    or injury, their claims for relief therein violate Defendant's right to due process under the California and

21    United States Constitutions.

22                                            THIRTEENTH DEFENSE

23                   (No Willful or Knowing and Intentional Violation- Sixth Cause of Action)

24     13.     Plaintiff and the putative class members are not entitled to any penalty award under Sections 226

25    of the California Labor Code or any other provision of the California Labor Code because, at all times

26    relevant and material herein, Defendant did not willfully, or knowingly and intentionally, fail to comply

27    with the provisions of the California Labor Code, but rather acted in good faith and had reasonable

28    grounds for believing that it did not violate the California Labor Code.
                                                            4
                    DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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                                         FOURTEENTH DEFENSE

                                      (No Injury- All Causes of Action)

  14.     Plaintiff's claim for penalties pursuant to California Labor Code § 226 fail because neither she
  nor any of the putative class members has suffered any injury as a result of the challenged statutory

  violation.
                                           FIFTEENTH DEFENSE

                                    (No Standing- All Causes of Action)

  15.     Plaintiff's Complaint, and each purported cause of action alleged therein, is barred for lack of

 subject matter jurisdiction to the extent Plaintiff and putative members of the purported class lack
 standing to bring their claims in either an individual, class or representative capacity.
                                          SIXTEENTH DEFENSE

                   (Lack Of Standing Under Proposition 64- Seventh Cause of Action)
  16.     Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that

  Plaintiff, or any person upon whose behalf Plaintiff purports to act, lacks the requisite standing to sue

  under Proposition 64, enacted on November 2, 2004, as California Business and Professions Code
 Section 17204. Under Proposition 64, any plaintiff suing for an alleged violation of the California

 Unfair Competition Law (the "UCL"), California Business and Professions Code Section 17200, et seq.,

 must show that he or he has suffered an injury in fact, in addition to simply alleging a loss of money or

 property. Since Plaintiff, or any other person on whose behalf Plaintiff purports to act, cannot allege the
 requisite injury in fact, in addition to the requisite loss of money or property, Plaintiff lacks standing to

 sue under the UCL.
                                        SEVENTEENTH DEFENSE

                              (Accord and Satisfaction- All Causes of Action)

 17.      The claims of Plaintiff and the putative class members are barred to the extent that they are

 subject to prior accord and satisfaction with respect to such claims.




                                                       5
               DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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 1                                               EIGHTEENTH DEFENSE

 2                                            (Release- All Causes of Action)

 3     18.        To the extent Plaintiff and/or putative members of the purported class have executed a release or

 4     been included in a release encompassing claims alleged in the Complaint, their claims are barred by that

 5     release.

 6                                               NINETEENTH DEFENSE

 7                                (Failure To Mitigate Damages- All Causes of Action)

 8     19.        Plaintiff is not entitled to recover the damages from Defendant alleged in her Complaint, or any

 9     damages, due to her continuous failure to make reasonable efforts to mitigate or minimize the damages

10     that she has allegedly incurred.

11                                               TWENTIETH DEFENSE

12                                             (Offset- All Causes of Action)

13    20.       To the extent that Plaintiff and/or members of the putative classes are entitled to restitution,

14    damages or penalties, Defendant is entitled to an offset for any overpayments of wages or other

15    consideration previously provided to those parties.

16                                             TWENTY-FIRST DEFENSE

17                                   (Setoff And Recoupment- All Causes of Action)

18    21.       To the extent a court holds that Plaintiff or putative members of the purported class are entitled

19     to damages or penalties, which is specifically denied, Defendant is entitled under the equitable doctrine

20    of setoff and recoupment to offset all overpayments and/or all obligations that Plaintiff or putative

21     members of the purported class owed to Defendant against any judgment that may be entered against

22    Defendant.

23                                           TWENTY-SECOND DEFENSE

24                                     (De minimis Doctrine- All Causes of Action)

25    22.       Plaintiff's claims, on behalf of herself and the putative class, fail to the extent that, even if

26    Plaintiff suffered damages (which Defendant disputes) as a result of Defendant's conduct, including, but

27    not limited to, delayed or shortened meal/rest breaks, rounding, or work occurring off the clock, such

28    damage is de minimis and therefore, not compensable as a matter of law.
                                                               6
                      DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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                                        TWENTY-THIRD DEFENSE

                                    (Lawful Policies- All Causes of Action)

  23.      Plaintiff's individual and putative class claims for alleged violation of California Labor Code and
  the applicable provisions of the California Wage Orders are barred, in whole or in part, because

  Defendant had lawful policies and at all times provided meal periods and authorized and permitted rest

  breaks to Plaintiffs and the putative class members, and had policies that complied with the California
  Labor Code and Wage 7-2001, in accordance with California law.
                                       TWENTY-FOURTH DEFENSE

                                  (Unreasonableness- All Causes of Action)

  24.      Plaintiff's Complaint as a whole, and each purported cause of action alleged therein, is barred, in

  whole or in part, because Plaintiff and the putative class members unreasonably failed to prevent or to

  avoid such harm and/or to diminish the extent of the harm.
                                        TWENTY-FIFTH DEFENSE

                           (Failure To Use Ordinary Care- All Causes of Action)

  25.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

  that Plaintiff received good consideration in agreement to serve as an employee, yet failed to use

  ordinary care and diligence during her employment, or employment-related duties, pursuant to

  California Labor Code Section 2854.
                                        TWENTY-SIXTH DEFENSE

                  (Failure To Comply With Employer's Directions- All Causes of Action)

 26.       Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

  that Plaintiff failed to substantially comply with all of the directions of her employer concerning the

  service on which she was engaged and Plaintiff's obedience to the directions of the employer was

  neither impossible or unlawful, nor would impose new and unrealistic burdens upon her, pursuant to
  California Labor Code Section 2856.




                                                        7
                DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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 1                                         TWENTY-SEVENTH DEFENSE

 2                 (Failure To Conform To Usage Of Place Of Performance- All Causes of Action)

 3     27.     Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

 4     that Plaintiff failed to perform services in conformity to the usage of the place of performance and was

 5     not otherwise directed by the employer, and such performance was neither impracticable, nor manifestly

 6     injurious to Plaintiff, pursuant to California Labor Code Section 2857.

 7                                          TWENTY-EIGHTH DEFENSE

 8                                      (Degree Of Skill- All Causes of Action)

 9     28.     Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent
10     that Plaintiff failed to exercise a reasonable degree of skill in performing her job duties, pursuant to

11    California Labor Code Section 2858.

12                                           TWENTY-NINTH DEFENSE

13                              (Failure To Use Skill Possessed- All Causes of Action)

14    29.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

15     that Plaintiff did not use such skill as she possessed, so far as the same is required, for the service

16    specified for Defendant, as provided under California Labor Code Section 2859.

17                                              THIRTIETH DEFENSE

18                                   (No Equitable Tolling- All Causes of Action)

19    30.      Plaintiff's Complaint, and each purported cause of action alleged therein, is not entitled to

20    equitable tolling because the allegations in the Complaint do not meet the requisite standard.

21                                            THIRTY-FIRST DEFENSE

22                                        (Arbitration- All Causes of Action)

23    31.      To the extent Plaintiff and/or putative members of the purported class have executed agreements

24     to arbitrate that encompass claims alleged in the Complaint, their claims are barred by their contractual

25    agreement to arbitrate.

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 1                                           THIRTY-SECOND DEFENSE

 2           (Failure To Exhaust Administrative Remedies- First, Second, Third, Fourth, Fifth and Sixth

 3                                                  Causes of Action)

 4     32.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

 5     that Plaintiff has failed to exhaust any administrative or statutory remedies provided under California

 6     Labor Code Sections 201, 202, 203, 226, 226.7, 510, 512, 558 and 1194 and 1197.

 7                                            THIRTY-THIRD DEFENSE

 8             (No Knowledge Of Overtime Or Denial Of Meal Or Rest Periods- All Causes of Action)
 9     33.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

10     that Defendant did not have actual or constructive knowledge about any purported overtime or off-the-

11     clock work allegedly performed by Plaintiff or any other purportedly similarly situated current or former

12     employees. Defendant also did not have actual or constructive knowledge that Plaintiff or any other

13     purportedly similarly situated current or former employees were denied any meal or rest periods. See,

14     e.g., Brinker v, Superior Court, 53 Cal. 4th 1004, 1051-1052 (2012); Forrester v. Roth's I.G.A.

15     Foodliner, Inc., 646 F.2d 413, 414 (9th Cir. 1981) ("where an employer has no knowledge that an

16     employee is engaging in overtime work and that employee fails to notify the employer or deliberately

17     prevents the employer from acquiring knowledge of the overtime work, the employer's failure to pay for
18     the overtime hours is not a violation"); Davis v. Food Lion, 792 F.2d 1274, 1276-77 (4th Cir. 1986) ("it

19     is necessary for a plaintiff to show that his employer had knowledge, either actual or constructive, of his

20    overtime work").

21                                          THIRTY-FOURTH DEFENSE

22           (Failure To Show Denial Of Meal Periods-Third, Fifth, Sixth and Seventh Causes of Action)

23    34.       Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

24     that Plaintiff cannot allege facts that show that Defendant required Plaintiff or any other putative class

25     member to work during any meal period mandated by California Labor Code Section 512. Plaintiff also

26     cannot show that Defendant required Plaintiff or any other putative class member to work in violation of

27    any applicable order of the California Industrial Welfare Commission, or failed to provide them with a
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 1     meal period, or denied them meal periods, in accordance with any applicable order of the California

 2     Industrial Welfare Commission, as provided under California Labor Code Section 226.7.
 3                                            THIRTY-FIFTH DEFENSE

 4        (Failure To Show Denial Of Rest Periods- Fourth, Fifth, Sixth and Seventh Causes of Action)

 5     35.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

 6     that Plaintiff cannot allege facts that show that Defendant failed to authorize and permit rest periods or

 7     denied rest periods as mandated by any applicable order of the California Industrial Welfare

 8     Commission, as provided under California Labor Code Section 226.7.

 9                                            THIRTY-SIXTH DEFENSE

10      (Meal And Rest Periods Were Taken- Third, Fourth, Fifth, Sixth and Seventh Causes of Action)

11     36.     Plaintiff's Complaint, and each purported cause of action alleged therein, is barred to the extent

12     that Plaintiff and any purportedly similarly situated current or former employees did, in fact, take all

13     meal periods or rest breaks to which Plaintiff claims they were entitled throughout their employment.

14                                          THIRTY-SEVENTH DEFENSE

15     (Meal Periods Were Provided And Rest Periods Were Authorized And Permitted- Third, Fourth,

16                                    Fifth, Sixth and Seventh Causes of Action)

17     37.     Plaintiff's Complaint, and each purported cause of action alleged therein, fails to state a basis

18     upon which relief can be granted because Defendant, at all relevant times, provided meal periods and

19     authorized and permitted rest periods as required by law.
20                                           THIRTY-EIGHTH DEFENSE

21      (Good Faith Dispute And Waiting Time Penalties- First, Second, Third, Fourth and Fifth Causes

22                                                      of Action)

23     38.     Plaintiff's Complaint, and each purported cause of action alleged therein, fails to state a claim for

24     waiting time penalties because there was a good faith dispute as to whether such penalties were due and

25     some members of the purported class did not resign or were not discharged prior to the filing of this

26     action and/or to the extent that no such penalties can continue after the commencement of an action for

27     the penalties.

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 1                                            THIRTY-NINTH DEFENSE

 2                           (Contribution By Plaintiff's Own Acts- All Causes of Action)

 3     39.     If the injuries and/or alleged damages in the Complaint occurred at all (which Defendant denies),

 4    such injuries and/or alleged damages were proximately caused by and/or contributed to by Plaintiff's

 5    own acts, omissions, and/or failures to act.

 6                                               FORTIETH DEFENSE

 7                             (Avoidable Consequences Doctrine- All Causes of Action)

 8    40.      Plaintiff's Complaint, and each purported cause of action alleged therein, is barred by the

 9    avoidable consequences doctrine.
10                                             FORTY-FIRST DEFENSE

11                  (No Unlawful, Unfair Or Fraudulent Business Practice- Seventh Cause of Action)

12    41.      Without admitting the allegations of the Complaint, Defendant alleges that Plaintiff's Complaint,
13    and each purported cause of action alleged therein, fails because the alleged practices of Defendant are

14     not unfair, unlawful or fraudulent, the public is not likely to be deceived by any alleged practices,

15    Defendant gained no competitive advantage by such practices, and the benefits of the alleged practices

16    outweigh any harm or other impact they may cause.

17                                            FORTY-SECOND DEFENSE

18                                         (Ratification- All Causes of Action)

19     42.     Plaintiff's Complaint, and each purported cause of action alleged therein, is barred on the ground

20    that Plaintiff ratified Defendant's alleged actions.

21                                             FORTY-THIRD DEFENSE

22     (Failure To State Facts Warranting Class Certification And Class Damages- All Causes of Action)

23    43.      Plaintiff's allegations that this action should be certified as a class action fail as a matter of law

24    because Plaintiff cannot allege facts sufficient to warrant class certification and/or an award of class

25    damages, pursuant to California Code of Civil Procedure Section 382 or Rule 23 of the Federal Rules of

26    Civil Procedure. Plaintiff likewise has failed to set forth any facts supporting any other form of

27    representative action.

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                                          FORTY-FOURTH DEFENSE

    (Failure To State Facts Warranting A Predominance Of Common Questions Of Fact And Law-
                                               All Causes of Action)

  44.      Plaintiff's Complaint, and each cause of action alleged therein, fails to the extent that Plaintiff

  cannot allege predominant questions of fact and law, as required under California Code of Civil

  Procedure Section 382 or Rule 23 of the Federal Rules of Civil Procedure.
                                           FORTY-FIFTH DEFENSE

                        (Failure To Show Adequate Damages- All Causes of Action)

  45.      Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that
  Plaintiff cannot show a specific or reliable measure of alleged damages owed to Plaintiff and/or the

  members of the purported class.
                                           FORTY-SIXTH DEFENSE

                (Failure To Allege Facts To Support Restitution- Seventh Cause of Action)

  46.      Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that

  Plaintiff cannot show a specific and individualized amount of property claimed by Plaintiff and/or any

  other member of the purported class, as required for a remedy of restitution under the UCL.
                                          FORTY-SEVENTH DEFENSE

                    (Lack Of Standing To Request A Jury Trial- All Causes of Action)

  47.      Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that
  Plaintiff seeks a jury trial for claims that are of a nature or right that did not provide for a jury trial at

  common law prior to the adoption of the California Constitution. To the extent that Plaintiff seeks a jury

  trial for such claims, there is no such jury trial right.
                                          FORTY-EIGHTH DEFENSE

                       (Lack Of Standing For Injunctive Relief- All Causes of Action)

  48.      The claims of Plaintiff and putative members of the purported class for injunctive and other
  equitable relief are barred because Plaintiff is a former employee and thus has no standing to seek

  injunctive or other equitable relief.


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                                         FORTY-NINTH DEFENSE

                  (Inability To Pursue Penalties Under The UCL- Seventh Cause of Action)

  49.     Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that

  Plaintiff seeks penalties, not restitution, for alleged violations of the Labor Code that form the basis of

  her claims under the UCL.
                                            FIFTIETH DEFENSE

               (Inability To Recover Attorneys' Fees Under The UCL- Seventh Cause of Action)

 50.      Plaintiffs Complaint, and each purported cause of action alleged therein, fails to the extent that

  Plaintiff seeks attorneys' fees and costs because Plaintiff cannot show the enforcement of an important

 right affecting the public interest.
                                          FIFTY-FIRST DEFENSE

    (Inability To Pursue Legal And Equitable Claims Involving Same Alleged Facts- All Causes of
                                                    Action)

 51.      Plaintiff's Complaint, and each purported cause of action alleged therein, fails to the extent that

 Plaintiff seeks a jury trial for her legal claims based on the California Labor Code while simultaneously

 seeking equitable relief for her claims under the UCL. Given that these claims require different triers of

 fact to address the same facts and legal theories, Plaintiffs request for both legal and equitable relief

 may lead to inconsistent results. Also, because Plaintiff's claims under the California Labor Code
 involve the same facts and legal theories as Plaintiff's claims under the UCL, Defendant is necessarily

 denied the benefits of the streamlined procedure based on the UCL if Plaintiff continues to pursue both

 legal and equitable claims.
                                        FIFTY-SECOND DEFENSE

                          (Not Appropriate For Class Action- All Causes of Action)

 52.      Plaintiffs Complaint, and each purported cause of action alleged therein, is not proper for
 treatment as a class action because, among other reasons: (a) Plaintiff cannot establish numerosity; (b)

 Plaintiff is an inadequate representative of the purported class; (c) Plaintiff cannot establish
 commonality of claims; (d) Plaintiff cannot establish typicality of claims; and (e) the individualized

 nature of Plaintiffs claims predominate and thus makes class treatment inappropriate.
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                                            FIFTY-THIRD DEFENSE
                                       (Uncertainty- All Causes of Action)

  53.       The claims of Plaintiff and putative members of the purported class are barred in whole or in

  part, because the Complaint is uncertain in that the purported class and subclass definitions are

 ambiguous and conclusory.
                                          FIFTY-FOURTH DEFENSE

                                 (No Ascertainable Class- All Causes of Action)

  54.       The putative class that the named Plaintiff purports to represent, the existence of which is

  expressly denied, is not ascertainable and, thus, no well-defined community of interest exists among the
  purported class members.
                                            FIFTY-FIFTH DEFENSE

                 (Class Action Not Superior Method Of Adjudication- All Causes of Action)

  55.       The alleged claims are barred, in whole or in part, as a class action, because a class action is not

  the superior method of adjudicating this dispute.
                                            FIFTY-SIXTH DEFENSE

                               (Adequate Remedy At Law- All Causes of Action)

  56.       Plaintiff is not entitled to the equitable relief sought insofar as she has an adequate remedy at law

 and/or cannot make the requisite showing to obtain injunctive relief in a labor dispute.

                                          FIFTY-SEVENTH DEFENSE

                                  (Improper Defendant- All Causes of Action)

  57.       To the extent Defendant did not employ Plaintiff, it is an improperly named Defendant.


                                           ADDITIONAL DEFENSES

            Defendant presently has insufficient knowledge or information upon which to form a belief
  whether there may be additional, as yet unstated, defenses and reserve the right to assert additional

  defenses in the event that discovery indicates that such defenses are appropriate.



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                                                     PRAYER

          WHEREFORE, Defendant prays for judgment as follows:

          1.        That Plaintiff, on behalf of herself and the putative class, take nothing by her Complaint

  on file herein;

          2.        That judgment be entered in favor of Defendant and against Plaintiff, and those persons

  in the putative class, on all causes of action;
          3.        That Defendant be awarded reasonable attorney's fees according to proof;

          4.        That Defendant be awarded costs of suit incurred herein; and
          5.        That Defendant be awarded such other and further relief as the Court may deem
  appropriate.

  DATED: February U , 2018                              Respectfully submitted,

                                                        SEYFARTH SHAW LLP



                                                        By:
                                                            Jon D. Meer
                                                            Elizabeth M. Levy
                                                        Attorneys for Defendant
                                                        MICHAEL KORS (USA), INC.




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 1                                                PROOF OF SERVICE
 2     STATE OF CALIFORNIA
                                                               ss
 3     COUNTY OF LOS ANGELES
 4            I am a resident of the State of California, over the age of eighteen years, and not a party to the
       within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5     90067-3021. On February 26, 2018, I served the within document(s):
 6               DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S
                 UNVERIFIED FIRST AMENDED COMPLAINT
 7

 8       ❑     I sent such document from facsimile machines (310) 201-5219 on                              . I
               certify that said transmission was completed and that all pages were received and that a report
 9             was generated by said facsimile machine which confirms said transmission and receipt. 1,
               thereafter, mailed a copy to the interested party(ies) in this action by placing a true copy thereof
10             enclosed in sealed envelope(s) addressed to the parties listed below.

11       0 by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
           in the United States mail at Los Angeles, California, addressed as set forth below.
12

13       ❑     by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
               below.
14
                Michael Nourmand, Esq.
15              James A. De Sario, Esq.
                The Nourmand Law Firm, APC
16              8822 West Olympic Boulevard
                Beverly Hills, CA 90211
17              Telephone: 310-553-3600
                Facsimile: 310-553-3603
18              Attorneys for Plaintiff Victoria E. Lucas, on behalf of herself and all others similarly situated
19             I am readily familiar with the firm's practice of collection and processing correspondence for
       mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
20     postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
       served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
21     after date of deposit for mailing in affidavit.
22            I declare under penalty of perjury under the laws of the State of California that the above is true
       and correct.
23
                Executed on February 26, 2018, at Los Angeles, California.
24

25
26                                                                         Maria Luz Pallinca
27

28


                     DEFENDANT MICHAEL KORS (USA), INC.'S ANSWER TO PLAINTIFF'S COMPLAINT
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                                                                       LASC - CENTRAL CIVIL WEST
                                                                       600 S. COMMON►WEALTH AVE.
                                                                       LOS ANGELES CA 90005

                                                                       DATE PAID: 02/26118 04:18 PM
                                                                       RECEIPT #: CCW530015036

                                                                        CIMASE: 80688239
                                                                        LEA/DEF#4


                                                                        PAYMENT: $1,435.00            310.
                                                                        RECEIVED:
                                                                           CHECK               $1,435.00
                                                                           CASH:                   $0.00
                                                                           CHANGE:                 $0.00
                                                                           CARD:
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